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         CIRCULAR NO. A–11

                         PART 4

INSTRUCTIONS ON BUDGET
      EXECUTION




         EXECUTIVE OFFICE OF THE PRESIDENT
         OFFICE OF MANAGEMENT AND BUDGET
                    JULY 2024
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                                         Summary of Changes

   Clarifies guidance on display of the previous approved column for an account specific apportionment
   made during a CR period for an account that also receives an automatic apportionment (section
   120.37).

   Allows agencies to reflect 30-day automatically apportioned funds as they would be apportioned
   normally (either Category A or Category B) without OMB concurrence (section 120.41).

   Updates list of situations that could require a reapportionment request to include a scenario where a
   TAFS needs to increase an indefinite appropriation but the previously approved apportionment did
   not include an "A" footnote providing automatic apportionment authority (section 120.48).

   Provides link (in Table of Contents above) to view Excel versions of section 120 Exhibits on OMB
   MAX Community (Exhibits 120A-W).

   Updates section 120 Exhibits throughout to more consistently follow section 120 guidance (Exhibits
   120A-W).

   Provides an example of how to show an account-specific apportionment to account for a term and
   condition of the CR (Exhibit 120W).


                             INTRODUCTION TO APPORTIONMENTS

120.1    What is an apportionment?

An apportionment is an OMB-approved plan to use budgetary resources (31 U.S.C. 1513(b); Executive
Order (E.O.) 6166, as amended by E.O. 12608). It typically limits the obligations you may incur for
specified time periods, programs, activities, projects, objects, or any combination thereof. An

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apportionment is legally binding, and obligations and expenditures (disbursements) that exceed an
apportionment are a violation of, and are subject to reporting under, the Antideficiency Act (31 U.S.C.
1517(a)(1), (b)). See section 145 for more on reporting violations of the Antideficiency Act.

120.2    What terms and concepts should I understand to work with apportionments?

Account-specific apportionments are approved by an OMB Deputy Associate Director (or designee) or an
OMB official that has been delegated apportionment authority and typically include specific amounts. They
are in contrast to automatic apportionments, described below.

A Treasury Appropriation Fund Symbol (TAFS) has adjustment authority if OMB has approved an
apportionment with a footnote in the Application of Budgetary Resources section (footnote indicator that
starts with A) describing what new or additional resources are automatically apportioned without the need
for OMB to approve a new apportionment and a YES is in the Line Split column of the adjustment authority
line (AdjAut). For instance, OMB may provide adjustment authority for cases where actual earned
reimbursements exceed the estimate on the apportionment. For more on adjustment authority, see sections
120.49 and 120.50.

The Antideficiency Act prohibits Federal employees from obligating or disbursing amounts in excess of an
appropriation, an apportionment (or in its absence), an allotment, a suballotment or any other subdivisions
of funds that are identified in your agency's administrative control of funds. For more on the Antideficiency
Act, see section 145.

An amount is apportioned for obligation in the current fiscal year when it appears on the Category A,
Category B, or Category AB lines. Amounts apportioned for obligation in future fiscal years appear on the
Category C lines. The Application of Budgetary Resources section also includes lines for amounts that are
exempt from apportionment or not apportioned for either current or future fiscal years.

An automatic apportionment is approved by the OMB Director in the form of a Bulletin or provision in
Circular A-11, and typically describes a formula that agencies will use to calculate apportioned amounts.
An automatic apportionment is in contrast to the account-specific apportionments, described above, which
typically include specific amounts, and which are approved by an OMB Deputy Associate Director (or
designee) or an OMB official that has been delegated apportionment authority.

Carryover amounts are unobligated balances that are available from the prior fiscal year(s) in multi-year
and no-year accounts. See section 120.23 regarding the submission, for OMB approval, of requests for the
apportionment of carryover amounts. Pursuant to sections 120.7 and 120.56, carryover amounts are
automatically apportioned at zero until an account-specific apportionment is issued for such amounts.

Category A, Category B, Category AB or Category C—Apportioned amounts appear on different groups
of lines in the Application of Budgetary Resources section of an apportionment. Amounts are identified in
an apportionment:

    •    by time (Category A);

    •    by program, project, or activity (Category B);

    •    by a combination of program, project, or activity and time period (Category AB); or

    •    for future years (only for multi-year/no-year accounts) (Category C).

You must report obligations to Treasury with the same categories as used on the apportionment.

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Exception apportionment is a colloquial term that describes a type of account-specific apportionment that
can be issued for operations under a continuing resolution (CR), in lieu of the OMB-issued automatic
apportionment. This excludes account-specific written apportionments for an anomaly provided in the CR.
OMB approves exception apportionment requests only in extraordinary circumstances. See section 123.9
for additional guidance.

Footnotes provide additional information and direction beyond the line stubs and dollar amounts. See
section 120.34 for more information.

Impoundment—Pursuant to the Impoundment Control Act, apportionments may also set aside all or a
portion of the amounts available for obligation.

    •    Amounts deferred through the apportionment process are those portions of the total amounts
         available for obligation that are specifically set aside as temporarily not available until released by
         OMB.

    •    Amounts withheld pending rescission are those portions that are set aside pending the enactment
         of legislation reducing the authority to obligate such funds.

For further information on deferrals and rescissions, including the difference between an impoundment and
a cancellation proposed by the President, see section 112.

The line split column allows you to provide information about a line or to distinguish between two or more
budgetary resource amounts that you would otherwise put on a single line. For more details on line splits,
see section 120.19.

Memo obligations are amounts obligated during the current fiscal year at the time the apportionment request
is prepared. The date of the obligations is at the top of the column.

Program reporting category—Agencies and OMB will work together to determine the program reporting
categories (if any, section 120.67) under which the agencies will report their obligations in their SF 133
Reports on Budget Execution and Budgetary Resources (see section 130). Program reporting categories
should be based on elements that agencies track in their financial systems. Though you are encouraged to
use program reporting categories, there are some cases where OMB and agencies will choose not to use
any.

The program reporting categories are not used to apportion funds and are not subject to the Antideficiency
Act (Appendix G).

Reapportionments are made when you need to make changes to the previously approved apportionment for
the current year (section 120.48). For example, you should request a reapportionment when approved
apportionments are no longer appropriate or applicable because the amounts available for obligation have
increased or unforeseen events have occurred.

The Treasury Appropriation Fund Symbol (TAFS) combines the Treasury agency or department code, the
Federal account symbol, and the period of availability of the resources in the account (section 20.3). The
period of availability may be annual, multi-year, or no-year (section 20.4(c)). Annual TAFSs have funds
that are available for obligation for no longer than one fiscal year. Multi-year TAFSs have funds that are
available for a specified period of time in excess of one fiscal year. No-year TAFSs have funds that are
available until expended. See section 20.4 for more details.



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The Department of the Treasury's list of account symbols                        may     be       found     here:
http://fiscal.treasury.gov/fsreports/ref/fastbook/fastbook_home.htm.

120.3    Are apportionments made at the Treasury appropriation fund symbol (TAFS) level?

Yes, apportionments are only made at the TAFS level. See section 20.11 for more details on TAFSs. For
cases of allocation transfers, see section 120.29.

120.4    What TAFSs are required to be apportioned?

All TAFSs are required to be apportioned, except in the case of a TAFS that is in its entirety exempt from
apportionment. See section 120.6 for a TAFS that is partially exempt from apportionment.

OMB is required to post all approved apportionment documents on a public website. Those apportionments
can be found here: https://apportionment-public.max.gov/.

120.5    What TAFSs are exempt from apportionment?

The following types of TAFSs are exempt from apportionment:

    •    TAFSs specifically exempted from apportionment by 31 U.S.C. 1511(b) or other laws.

    •    TAFSs for which budgetary resources:

                   have expired and therefore the expired TAFS cannot be reapportioned in the expired
                    phase (in this case, the last apportionment during the unexpired phase applies);

                   have been fully obligated before the beginning of the fiscal year; or

                   are available only for transfer to other TAFSs (unless OMB determines otherwise),
                    which can include TAFSs where the sole purpose of the TAFSs is to effectuate an
                    expenditure transfer between fund types (e.g., between Federal funds and trust funds)
                    (see below for additional information).

Because transfer-only TAFSs that require expenditure transfers (due to crossing Federal fund group to a
trust fund) involve an obligation, you must request a letter from your OMB Deputy Associate Director for
proper funds control documentation that the TAFS is exempt from apportionment because the funds are
available only for transfer to other TAFSs.

    •    TAFSs of the following types, which the OMB Director may exempt from apportionment pursuant
         to 31 U.S.C. 1516:

                   Trust funds or working funds if an expenditure from the fund has no significant effect
                    on the financial operations of the United States Government;

                   Management funds (Treasury TAFSs with the symbols 3900–3999);

                   Payment of claims, judgments, refunds, and drawbacks;

                   Payment under private relief acts and other laws that require payment to a designated
                    payee in the total amount provided in such acts;

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                       Foreign currency fund TAFSs (unless OMB requests), section 120.63;

                       Interest on, or retirement of, the public debt; and

                       Items the President has determined to be of a confidential nature for apportionment
                        and budget execution purposes.

In order to request that the OMB Director exempt a TAFS from apportionment pursuant to 31 U.S.C. 1516,
you must send in a formal request with the justification. Your OMB Deputy Associate Director (DAD) or
an OMB official that has been delegated apportionment authority will formally notify you in writing about
your exemption request. Memoranda that the DAD or delegated official provides to the agency providing
an exemption will also be posted within the apportionment system.

If your exemption request is pursuant to 31 U.S.C. 1516 and specifically for a trust fund or working funds
with expenditures that do not have significant effect on the financial operations of the United States
Government, your request needs to demonstrate that fact using historical information such as the magnitude
of the gifts and donations funding compared to the overall size of the agency's budget, the pattern of
obligations in that fund, etc.

To see a list of TAFSs that are exempt from apportionment, a report is available through the apportionment
system.

120.6    Can a portion of my TAFS be exempt from apportionment?

Yes, in a very limited number of cases, only a portion of the budgetary resources for a TAFS must be
apportioned. In these cases, agencies must show the full amount of budgetary resources—both exempt
from apportionment and non-exempt—in the Budgetary Resources section and show the amounts subject
to apportionment on apportioned lines, and the amounts not subject to apportionment on Line 6183, Exempt
from apportionment in the Application of Budgetary Resources section.

120.7 Do I need to submit an apportionment every fiscal year for TAFSs that are multi-year/no-
year?

Yes. Multi-year/no-year TAFSs with unexpired budgetary resources available for obligation MUST be
apportioned every fiscal year, unless exempt under section 120.5. See also section 120.56.

120.8    Can I incur obligations without an apportionment?

No, an obligation cannot be incurred without an OMB approved apportionment (account-specific or
automatic), except when the relevant account, from which the amounts are being obligated, is exempt from
apportionment. The Antideficiency Act (section 145) prohibits the incurring of obligations that exceed the
approved apportionment amount (including, e.g., purchase services or merchandise). See section 145 for
specifics on the Antideficiency Act.

120.9    Can I use an apportionment to resolve legal issues about the availability of funds?

No. The apportionment of funds is not a means for resolving any question dealing with the legality of the
amounts available by law or the legality of using funds for the purpose for which they are apportioned. Any
question as to the legality of the amounts available by law, or the legality of using funds for a particular
purpose, must be resolved through agency legal channels. Importantly, OMB's approval of an
apportionment request does not reflect OMB's concurrence with an agency's legal position.

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                                 WHAT IS IN AN APPORTIONMENT?

120.10 How is the apportionment organized?

The top of the apportionment shows the name and account number of the TAFS being apportioned, and
often includes other descriptive information, e.g., agency name, bureau name, budget account name and
number.

The apportionment always includes two sections: Budgetary Resources and Application of Budgetary
Resources. The Budgetary Resources section always appears toward the top of the apportionment, and
must show all budgetary resources available to the TAFS (e.g., appropriations, reductions, non-expenditure
transfers). The Application of Budgetary Resources shows apportioned amounts, which are legal limits that
restrict how much an agency can obligate, when it can obligate, and what projects, programs, and activities
it can obligate for.

Apportionments for guaranteed loan accounts include a third section, Guaranteed Loan Levels and
Applications.

Each section of an apportionment includes line numbers and descriptions of all pertinent amounts. See
Appendix F1 for a complete list of line numbers and detail descriptions for each line.

120.11 Why is the Budgetary Resources section needed?

The Budgetary Resources section is necessary for several reasons.

    •    First, it provides sufficient detail for OMB to see what level of funding is coming into the TAFS
         and therefore available to be apportioned. In many cases, apportioned amounts tie back to amounts
         on specific budgetary resource lines.

    •    Second, budgetary resource lines on apportionments match the lines used in the President's Budget
         Program and Financing schedule and SF 133 Report on Budget Execution and Budgetary
         Resources. The reason that these three presentations use the same line numbers is to facilitate
         comparisons that provide agencies and OMB with a basis to know they are looking at the right
         numbers. In addition, the Budget Enforcement Act (BEA) category (i.e., discretionary or
         mandatory) information in this section is provided to the Treasury Department to facilitate agency
         reporting of BEA information in budget execution reports.

    •    Third, the apportionment is the first step in a fiscal year's budget execution process, and provides
         the basis for agencies to post information in their funds control and financial systems.

120.12 After OMB approves an apportionment, can I obligate against all budgetary resources?

Not necessarily. You should not obligate until apportioned amounts have been allotted in accordance with
your agency's OMB-approved funds control regulations (see section 150, Administrative Control of Funds).
There are other circumstances in which you cannot obligate funds following an apportionment. For
example, you cannot obligate against anticipated resources. You must wait until the resources are realized
before incurring obligations. Additionally, in some cases, a footnote to the apportionment will state that
amounts are apportioned, but are only available for obligation when specified events occur (such as an
agency taking certain action).




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120.13 What is the format of the Application of Budgetary Resources section and what categories
does OMB use to apportion funds?

OMB usually uses one of four categories to apportion budgetary resources in a TAFS.

Category A apportions budgetary resources by fiscal quarters, e.g., quarter one (October 1 through
December 31) and quarter two (January 1 through March 31). Lines 6001 through 6004 are used for
quarters one through four, respectively.

Category B apportions budgetary resources by program, project, activities, objects or a combination of these
categories. Lines 6011 through 6110 are used for Category B apportioned amounts. One TAFS can
potentially have dozens of Category B apportionments, each pertaining to specific activities, projects, and
so on. There are also cases when it makes programmatic sense for OMB to use a single, Category B
apportionment for a given TAFS.

Category AB apportions budgetary resources by a combination of fiscal quarters and projects. You may
use Lines 6111 through 6159 to apportion in this manner. See section 8 of Appendix F for a full list of line
numbers and descriptions.

Category C apportions budgetary resources in multi-year and no-year TAFSs into future fiscal years. Lines
6170 thru 6173 are used for Category C apportioned amounts. (Note: Category C amounts that OMB
apportions in one year are not available for you to obligate against in the following year. For these amounts
to be available, OMB must approve a new request in the following year that apportions these amounts on
Category A, B, or AB lines.) See section 120.52 for additional information.

Apportionments may include a combination of categories.

In some cases (uncommon), resources in the Budgetary Resources section are not apportioned. In such
cases, the non-apportioned budgetary resources are shown using one of four apportionment lines —

     (1) 6180, Withheld pending rescission (rarely used),

     (2) 6181, Deferred (rarely used),

     (3) 6182, Unapportioned balance of a revolving fund, and

     (4) 6183, Exempt from apportionment (uncommon, and used in TAFSs with both budgetary resources
         subject to and exempt from apportionment — at the bottom of the section on the Application of
         Budgetary Resources).

Agencies must report obligations to Treasury (GTAS) using the same level of specificity as appears on the
apportioned section of your most recent approved apportionment. For instance, if OMB uses a single
Category B project with five program reporting categories, you must report obligations for each program
reporting category. Likewise, if OMB uses ten Category B projects and you incur obligations for each of
these projects, your GTAS submission and SF 133 budget execution report must show obligations for each
of these ten Category B projects and continue to report them in the expired phase.

120.14 What is the format of the Guaranteed Loan Levels and Applications section?

An apportionment for guaranteed loan financing accounts can have a third section, Guaranteed Loan Levels
and Applications section. This section shows limitations on loan levels by program level either from the
current year and/or unused from prior year(s), and the application of the program level by quarter, risk

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category, or a combination. The total of the limitation on loan levels by program level should equal the
total of the application of the program levels.

120.15 What other kinds of information may an apportionment include?

Many kinds of additional information can be integrated into an apportionment request. Here are some
examples.

Allocations. The allocations tab (if required by your RMO examiner) includes a list of all transfer allocation
(or children) accounts that are expected to receive a non-expenditure transfer of funds from the parent TAFS
being apportioned. The allocation accounts are subject to the Antideficiency Act. Unless OMB separately
apportions an allocation account after apportioning the parent account, the allocation account must follow
all apportioned amounts, footnotes, and other guidance of the parent account (see section 120.29 for more
details).

Footnotes. Footnotes appear on one of three tabs: "Previously Approved Footnotes," "Agency Footnotes,"
and "OMB Footnotes." Footnotes on the OMB Action column in the Application of Budgetary Resources
section (footnote indicator starts with A) are subject to the Antideficiency Act. See section 120.34 for
additional information on footnotes.

Program Reporting Categories. When used, these identify the level of detail that an agency must use in
reporting its obligations on SF 133 budget execution reports. These appear on the PgmCat tab in the
apportionment request. These are not subject to the Antideficiency Act. See section 120.67 for additional
information on program reporting categories.

System-generated reports. When agencies validate requests, the apportionment system sometimes creates
reports showing latest SF 133 versus the apportionment request; warrants; and non-expenditure transfers.
These reports are not subject to the Antideficiency Act.

Additional tabs. Apportionments are almost always prepared, submitted and approved in Excel files.
Certain tabs in the Excel file house the apportionment request or footnotes. Others are reserved for other
specific kinds of information. Agencies may also use additional tabs as attachments to the apportionment.
Tabs in the Excel file are only subject to the Antideficiency Act if specifically referenced in a footnote in
the OMB Action column of the Application of Budgetary Resources section of the apportionment (see
section 120.36).

Attachments. Attachments may include Word, PDF, or Excel files with a wide range of information that
pertains to the apportionment request, but that is not included in the Excel file containing the request. These
attachments are subject to the Antideficiency Act only if they are specifically referenced in a footnote in
the OMB Action column of the Application of Budgetary Resources section of the apportionment (see
section 120.36).


                          PREPARING THE APPORTIONMENT REQUEST

120.16 How can I submit an apportionment request?

The vast majority of apportionments are submitted by agencies and approved by OMB using OMB's secure,
web-based apportionment system. When questions or issues arise using the system, please send the Excel
file you are working with and a brief description of the issue to "apportionment@omb.eop.gov." Please
direct questions of a substantive nature to your OMB representative.


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In a limited number of cases necessitated by extenuating circumstances, OMB may approve an
apportionment by e-mail or other non-system methods consistent with 31 U.S.C. 1513. Once the
extenuating circumstances have passed (or sooner if possible), agencies and OMB should process these
same requests using the apportionment system.

120.17 Is there a standard, set number of lines to show in an apportionment request?

No. While the format of the request is fixed and uses specific columns to hold certain kinds of information,
the number of lines used for a given TAFS varies considerably. The apportionment system allows you to
pick from more than 125 different budgetary resource lines, but agencies will only want to show amounts
on a few of these lines for any given TAFS. For example, a TAFS with only an annual appropriation may
just use one budgetary resource line.

The system provides significant flexibility to allow agencies to put in other lines with zero amounts. For
instance, an apportionment for a given TAFS might show all discretionary appropriations lines, but no
mandatory appropriations lines. Agencies must work closely with their OMB representatives in determining
which budgetary resource lines to show with zero amounts (e.g., post short-term continuing resolution, see
section 120.62).

Appendix F1 shows all possible line choices that are available in the apportionment system.

120.18 What header information at the top of the apportionment must I complete?

The header must provide the fiscal year for the apportionment and a public law (if no public law is available
right after the enactment of the bill, the H.R. number is acceptable). The public law reference may be
descriptive if there are multiple public laws covered by the apportionment or if the annual appropriations
act is not enacted. Some examples are:

    •    Funds provided by Public Law N/A – Carryover

    •    Funds provided by Public Law N/A – Multiple

120.19 What do I put in each column of the apportionment request?

TAFS. TAFS information appears in columns A through F of apportionment requests. The columns show:
Treasury agency; period of availability (FY1 and FY2); and allocation account and sub-account, if
applicable. For presentation purposes, these columns are often hidden. You can unhide these columns if
necessary. As part of validating requests or sending requests, the system checks that these columns are
filled out properly; if they are not, the system provides an error message.

The apportionment system will only accept apportionments that use the three-digit CGAC agency codes
(see Appendix C for a listing). For these apportionments, each TAFS code will appear in a single cell, and
columns A through F will no longer be dedicated to showing that information.

Line numbers. Appendix F1 shows a complete list of line numbers and descriptions.

Line splits. You must provide line split in the following cases:

    •    The IterNo (Iteration Number) line shows the number of times OMB has approved (apportioned)
         an apportionment for a given TAFS in a fiscal year. No action is necessary if you use the Create
         Template function in the apportionment system as a starting point for preparing your requests. The

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         apportionment system automatically puts in the Iteration Number in the line split column, as well
         as puts the last approval date in the line stub column.

    •    The RptCat line indicates whether the TAFS uses Program Reporting Categories (section 120.67).
         Use "YES" or "NO", as appropriate, for the line split column.

    •    The AdjAut line indicates whether OMB has approved a footnote in the Application of Budgetary
         Resources section (footnote indicator that starts with A) on the apportionment that allows specific
         types of adjustments to be made without submitting a reapportionment request. Use "YES" or
         "NO", as appropriate, for the line split column. (See section 120.50)

    •    Line 1000 shows unobligated balances. For unobligated balances in no-year and multi-year TAFSs
         with both mandatory and discretionary funding, you must use a line split that starts with the letter
         "D" to show the portion of the balances that are discretionary. To distinguish between estimated
         and actual balances, use line splits of "E" to show estimated balances or "A" to show actual
         balances. Use "DE" or "DA" to indicate estimated from actual discretionary balances, respectively,
         and use "ME" and "MA" to indicate estimated from actual mandatory balances (section 120.20).

You may use the line splits to distinguish between two or more amounts that you would otherwise put on a
single line. For example, you may use line splits to distinguish between two or more sources of collections,
to distinguish between unobligated balances from reimbursable authority versus direct appropriations, or
even to distinguish sequestration amounts on an apportionment.

You cannot use line number splits for the Application of Budgetary Resources section.

Previous Approved Column.

    •    Leave the column blank for the first request you submit for a given fiscal year. See exhibits 120C,
         and 120D, and 120F for examples of an annual (one-year) appropriation, a no-year appropriation,
         and appropriations provided by a continuing resolution.

    •    Include amounts from the "OMB Action" column of the previously approved apportionment within
         the same fiscal year. This includes any adjustments under sections 120.49 or unless your RMO
         determines any other adjustment authority granted to you by OMB in writing (section 120.50).

    •    When appropriations are enacted following one or more CRs, include the amounts from the last CR
         in this column (see section 120.60) unless otherwise required by your RMO.

    •    For reapportionment requests add the indicator, e.g., A1, B1\B2, which indicates that a footnote(s)
         appears on the previous approved footnote worksheet tab. If your earlier apportionment had
         footnotes, the worksheet tab will be automatically populated by the apportionment system.

Agency Request Column.

    •    Include the amounts you are requesting in this column.

    •    Include an indicator, e.g., A1, B1, which indicates that a footnote appears on the agency footnote
         tab. See section 120.34 for more information on footnotes.




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OMB Action Column.

    •    The apportionment system places formulas in the OMB Action column to set it equal to the Agency
         Request column. OMB will adjust the OMB Action values as necessary when reviewing and
         approving your request.

    •    Include an indicator, e.g., A1, B1, which indicates that a footnote appears on the approved footnote
         tab. The footnotes in the OMB Footnote column override all other footnotes.

Memo Obligations Column.

    •    Include memorandum obligations in this column. Also include the date of the obligations using
         the MM-DD-YYYY format on the RptCat row. The memo obligations support your
         reapportionment request.

120.20 Do I need to follow special conventions to show the portion of discretionary balances in split
accounts (TAFSs with both mandatory and discretionary funds)?

Yes. For unobligated balances in no-year and multi-year TAFSs with both mandatory and discretionary
funding (split accounts), you must show the discretionary portion of the balances by using a line split that
starts with the letter "D" and you must show the mandatory portion of the balances by using a line split that
starts with the letter "M". You will do this solely on Line 1000, Unobligated balance, brought forward,
Oct. 1. You must also change the Line Stub to start with the word Discretionary, e.g., Discretionary
Unobligated balance, brought forward, Oct. 1 or Mandatory Unobligated balance, brought forward, Oct. 1,
as appropriate. Many agencies use line splits of "E" or "A" to distinguish Estimated from Actual balances,
respectively. In these cases, you would use "DE" or "DA" to indicate estimated from actual discretionary
balances, respectively and you would use "ME" or "MA" to indicate estimated from actual mandatory
balances, respectively.

120.21 Can I use amounts that include decimal points or cents in an apportionment?

No. You must round all amounts up to a dollar in apportionment requests. In addition, you may not round
amounts to thousands. When you round up, the delta between the actual cents and the amount apportioned
is not available for obligation and your funds control system must reflect that. Additionally, you should
add a "B" footnote on line 1920 of the Budgetary Resource section of the apportionment to indicate that
rounding has occurred and, therefore, rounded amounts on the apportionment will not match amounts
reported on the SF 133 which are reported to the penny. Here is an example of such a footnote:

"Pursuant to section 120.21 of OMB Circular A-11, one or more lines in the Budgetary Resources section
may be rounded up. As a result, those rounded lines will not match the actuals reported on the SF 133.
Agency will ensure that its funds control system will only allot actuals."

120.22 Should I use a specific numeric format in the Excel file that holds my request?

Yes, you must use whole numbers (decimal points are not permitted) or blanks in numeric columns.
Numeric columns include the Previous Approved Amount, Agency Request, OMB Action, and
Memorandum Obligations columns. Numbers (including zero) must be formatted using the number format
with thousands separator (a comma), and with a leading negative sign (-). You cannot use asterisk, special
characters, or letters in numeric columns of any apportionment request. Further, you cannot format a
number, zero or otherwise, to appear as an asterisk or other special character. There is a single exception:
in the memorandum obligations column only, you may use a date format on the RptCat line.

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120.23 When are apportionments due at OMB for a new fiscal year?


 If ...                                                  Then, submit your first apportionment request by...

 Any part of the budgetary resources for a TAFS is not   August 21, as required by 31 U.S.C. 1513(b)
 determined by current action of the Congress (such as
 permanent appropriations, public enterprise and other
 revolving funds subject to apportionment,
 reimbursements and other income, and balances of
 prior year budget authority)
 All or any part of the budgetary resources for a TAFS   August 21, or within 10 calendar days after the
 are determined by current action of the Congress        enactment of the appropriation or substantive acts
                                                         providing new budget authority (i.e., authorization
                                                         bills), whichever is later


After August 21, OMB requires an explanation for any delayed initial apportionment requests in accounts
with budgetary resources not dependent on current action of the Congress.

We encourage you to begin preparation of apportionments and related materials as soon as the House and
Senate have reached agreement on funding levels. In this way, you can make a timely submission of your
request to OMB, and OMB can have adequate time for its review.

120.24 When is the apportionment system open for a new fiscal year?

The apportionment system will open to agencies to start preparing requests no later than August 1 (or the
following business day). Agencies can submit their requests starting August 8.

120.25 Can I combine TAFSs on a single apportionment?

No. From time to time, agencies ask whether they can combine (or "roll-up") the amounts from two or
more TAFSs, and submit an apportionment for this single "combined" TAFSs (e.g., miscellaneous
accounts). Agencies may not do this because the apportionments must tie back to the statutory authority,
which explicitly makes distinctions between accounts and defines the period of availability of the funds in
the accounts. These are generally the same pieces of information that distinguish one TAFS from another.

120.26 Should I assemble apportionment requests for multiple TAFSs in a single package or file?

Yes, unless your OMB representative determines otherwise. To the extent practical, submit apportionment
requests for each independent agency, departmental bureau, or similar subdivision together.

120.27 Can I cross-check information in the Budgetary Resources section?

Yes. You can cross-check information in certain cases against the President's Budget or the most recent SF
133 Reports. In addition, for general fund TAFSs, you should check that appropriations and warrants by
Treasury (if any) are consistent and you can check that actual non-expenditure transfers match transfers
processed at Treasury. See https://community-dc.max.gov/x/v5Bwkg.

120.28 Who can approve the apportionment request for the agency?

Agencies must use appropriate internal controls in preparing apportionment requests, and specifically
ensure that the agency official with authority to review and approve the request has done so. The approving

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official at the agency is not required to sign the request that is sent to OMB, but may do so if required by
the agency's internal controls or if requested by the OMB examining division. OMB's apportionment
system does not accommodate electronic signatures of agency officials.

120.29 Who is responsible for preparing the apportionment request for allocation (parent/child)
accounts?

Allocation accounts involve both a "parent" appropriation and a "child" recipient of budgetary resources
via an allocation non-expenditure transfer. For instance, if an appropriation is enacted to the Funds
Appropriated to the President's International Military Education and Training account (11-1081 /X), and a
subsequent allocation is made to the Department of the Army (Treasury agency 21), then the allocation
non-expenditure transfer from 11-1081 /X to Army would be as follows: 11-1081 /X transfer to 21-11-
1081 /X.

Unless OMB determines otherwise, the agency that receives the appropriation to be allocated (the "parent")
should submit a single, consolidated apportionment request that encompasses both the parent TAFS and all
the allocated recipient "child" agencies and/or bureau TAFSs (see exhibit 120P for an example that uses
different lines to distinguish between the parent and children on the apportionment). Additionally,
allocation transfers are normally apportioned at the same category level as the parent account (e.g., Category
A, B, AB, or C). The agency administering the parent TAFS will indicate to the receiving agency what
portion of the consolidated apportionment is transferred to the allocation TAFSs.

Allocation account apportionments, however, can be done in different ways. See exhibit 120R for an
example of a parent-only allocation apportionment and exhibit 120Q for an example of a child-only
allocation transfer apportionment.

The parent agency must ensure that the recipients are provided the approved apportionment request on a
timely basis. Obligations incurred for the program as a whole are limited by the approved apportionment.
Receiving agencies will be responsible for keeping obligations within the amount so specified in the
apportionment or to the amount transferred to it from the parent.

Allocation worksheets are no longer required if you are using allocations on the apportionment.

In order for the transfers to crosswalk correctly in the SF 133 and President's Budget, please ensure that
both the parent and child use the appropriate USSGL for allocation transfers
(http://www.fms.treas.gov/ussgl/index.html).


                           SUBMITTING APPORTIONMENT REQUESTS

120.30 How do I submit apportionment requests to OMB?

Agencies will typically use OMB's web-based apportionment system to submit their apportionment requests
to OMB (see section 120.32 for getting permission in the system to send). In those circumstances when
you are unable to use the web-based system, e-mail the Excel file containing your request to your OMB
representative. You will almost always be required to send OMB an electronic copy of the apportionment
request. In some cases, the OMB representative may request you to provide a hard copy of the signed
request.




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120.31 What functions will I perform using the apportionment system?

OMB's web-based apportionment system is the primary system agencies will use to prepare, submit, and
run reports on their apportionment requests. Staffers with authority to use the system may use the
Support\Links tab to find detailed guidance on using the system.

Below is a brief overview of the major functions.

(a) Create template

Use the Create Template screen to get a starting point for your request. If you are only creating one TAFS,
the data entry screen is the best starting point. If the TAFS you are working with has already been
apportioned in the fiscal year for which you are submitting a request, the system will create a properly
formatted Excel file with the most recently approved information in the Previous Approved column. If the
TAFS has not yet been apportioned or has never been apportioned, you can draw source data from a
previous fiscal year and/or a different TAFS to provide a starting point for your request.

(b) Validate

After you have created a template and updated it to reflect the proper information for your request, use the
Validate Request screen to do two things: check for any math or formatting errors, and if there are no errors,
create a new file that is ready to be submitted to OMB. This file will have several Excel tabs that were not
in your original template. It will have the tab called Appor_Req_to_OMB with the primary apportionment
information. It will have a tab to hold any footnotes that OMB may wish to include with the apportionment.
If any of the TAFSs in your file have warrants, transfers, or SF 133 data (excluding parent or child allocation
accounts) for the fiscal year of your requests, the validated file will also have tabs to display these items.
You will need to download and save this file wherever you keep your apportionment files.

(c) Send

If your agency administrator has given you the ability to send requests, you can use the Send tab to send
files to OMB, or in some cases, to send files to a central office in your agency that will approve requests
and send them to OMB.

(d) Run reports

At any time, you can go to the Run Reports tab to find information associated with your apportionment
request, including the latest approved amounts, the latest submission and approval dates, etc.

120.32 How do I gain access to the apportionment system?

The apportionment system can be found here: https://apportionment.max.gov.

In order to use the apportionment system to prepare requests and run reports, you must have a MAX User
ID and your agency administrator must add you to one or more apportionment groups. Your administrator
may also choose to give you the ability to submit requests to OMB.

You can register for a MAX User ID here: https://portal.max.gov/portal/main/displayRegistrationForm.
You can find your agency administrator here: https://portal.max.gov/home/sa/findAgencyAdminForm.




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120.33 Are there situations when I would not use the apportionment system?

In limited circumstances, OMB may apportion using a letter apportionment. Additionally, during a
continuing resolution period, OMB will sometimes apportion certain types of budgetary resources, such as
spending authority from offsetting collections, using a blanket written letter apportionment in addition to
the OMB CR Bulletin. Consult your OMB representative for more information.


                               FOOTNOTES TO APPORTIONMENTS

120.34 What are apportionment footnotes (and footnote indicators)?

The request tab of an apportionment includes columns for previous approved amounts, agency request, and
OMB action. Next to each of these columns, in turn, is a column for a footnote indicator. The use of a
footnote indicator on the request tab, e.g., A1, B1, indicates that one or more footnotes are associated with
that line.

Footnotes appear as textual descriptions on specific tabs in the apportionment file, and typically provide
additional information or direction associated with one or more lines on the request. A request includes
separate footnote tabs associated with amounts in the previously approved request column, agency requests
column, and OMB Action column. Footnotes are divided into two basic groups: footnotes for apportioned
amounts (in the Application of Budgetary Resources section), and informational footnotes for budgetary
resources.

Footnotes for Apportioned Amounts (Application of Budgetary Resources section). Each footnote indicator
in this section begins with the letter A. These footnotes are associated with one or more lines in the
Application of Budgetary Resources section (the bottom section of the apportionment, OMB action
column), have legal effect, and are subject to the Antideficiency Act. For example, a footnote may allow
for an upward adjustment of budgetary resources in excess of amounts prescribed in section 120.49 without
the need for further action by OMB.

Footnotes for Budgetary Resources (Budgetary Resources section). Each footnote indicator in this section
begins with the letter B. These footnotes are informational and are associated with one or more lines in the
Budgetary Resources section (the top section of the apportionment). For example, a footnote may identify
the source of offsetting collections or explain the basis for amounts on a recovery line. Because these
footnotes are not in the Application of Budgetary Resources section (e.g., apportioned), they have no legal
effect.

Indicators for footnotes. Footnotes are designated (indicated) through a letter/number combination. Each
footnote indicator starts with a letter A or B (A for apportioned amounts in the application of budgetary
resource section; B for budgetary resource), which is followed by a one- or two-digit number: e.g., B1. If
a single line has more than one footnote, separate the indicators with commas: A1, A2, A3.

You can find more detailed implementation guidance in OMB's secure, web-based apportionment system
under the "Open Support \ Links" tab in navigation menu.

120.35 Do footnotes starting with the letter A correspond to Category A apportioned amounts while
those starting with the letter B relate to Category B apportioned amounts?

No. Footnote indicators associated with lines in the Budgetary Resources section start with the letter B.
Footnote indicators associated with lines in the Application of Budgetary Resources section (apportioned


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amounts) start with the letter A (irrespective of whether apportioned amounts are Category A, B, AB,
or C).

120.36 Will footnotes and additional tabs/attachments become part of the apportionment?

Yes, but they will only be subject to the Antideficiency Act if they are specifically referenced in a footnote
in the OMB Action column of the Application of Budgetary Resources section of the apportionment.

It is no longer necessary to include a footnote stating that attachments not referenced in the apportionment
are not subject to the Antideficiency Act.

120.37 What footnotes are required for agencies to include in their apportionment requests?

There is no universal requirement to include footnotes in an apportionment request, except for those
required after a short-term CR (see section 120.60). Many apportionments are approved without footnotes.
Here are examples of cases when you use footnotes:

    •    If you submit an apportionment request and OMB included footnotes in the OMB Footnotes tab of
         the last approved apportionment, the previously approved footnote indicators must appear in the
         Prev Footnote column and the text must appear in the Previously Approved Footnotes tab.

    •    If a particular TAFS has a standard footnote year after year, retain it in your apportionment request
         unless you have consulted with OMB.

    •    Include any footnotes your OMB examining division has specifically directed you to include.

    •    Unless OMB determines otherwise, when amounts are automatically apportioned (as specified in
         sections 120.49, 120.50 (if applicable) or section 185.20) and there is a subsequent need for
         reapportionment, show automatically apportioned amounts in the previously approved column.
         Include a footnote noting where changes have been previously made as automatic apportionments.

    •    During a CR period, if you are reapportioning an account that has budgetary resources provided by
         other Acts (e.g., unobligated balances, spending authority from offsetting collections, etc.) and a
         CR Bulletin, you do not need to show the automatically apportioned amounts in the previously
         approved column. However, you must continue the footnote provided in section 123.17. Please see
         section 120.59 for more details.

120.38 Are there footnotes that are automatically applied to annual and multi-year apportionments?

Yes. The following footnote is automatically apportioned for all annual and/or multi-year TAFS that may
need to liquidate obligations that were incurred against canceled appropriations:

"Pursuant to 31 U.S.C. 1553(b), not to exceed one percent of the total appropriations for this account is
apportioned for the purpose of paying legitimate obligations related to canceled appropriations."

Written apportionments should no longer include this footnote.




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                             APPROVING APPORTIONMENT REQUESTS

120.39 How will OMB indicate its approval of an apportionment?

When OMB approves an apportionment through the apportionment system, you will receive an e-mail with
the approved Excel file attached. The e-mail will be from 'apportionment@omb.gov,' and the subject line
will include the words 'Approved Apportionment.'

    •    The Excel file will include a tab called 'Approval Info,' which shows the name, title, and digital
         signature imprint of the OMB official who approved the apportionment, as well as other pertinent
         information.

             o    The official who approves the apportionment may affix her or his electronic signature to
                  the request; or

             o    The official approving a request may sign a paper copy in ink and instruct a staffer to put
                  a digitized picture of the official's signature (along with a note saying which staffer affixed
                  the signature) on the apportionment.

In some cases, the 'Approval Info' tab may not be present. In those cases, OMB will e-mail or fax a hard
copy of the apportionment that displays the signature of the approving OMB official.

The Excel file is locked, and should be opened in read-only mode. OMB maintains a copy of the approved
apportionment in its secure, web-based system. OMB also maintains the signed-in-ink apportionment in
those cases when a designated staffer affixes an official's digitized signature to the apportionment. As OMB
continues to transition from using ink signatures to using digital authoritative marks, you may receive
apportionments that have been approved using either method.

OMB may also choose to indicate its approval of an apportionment in other ways, including by letter,
telephone, hard copy, or other method that is appropriate to the particular circumstance. For instance, in
rare circumstances where you need to obligate against a submitted reapportionment as soon as possible,
you do not have to wait to receive the signed apportionment in the system before obligating if OMB has
notified you that your reapportionment has already been approved.

120.40 When can I expect OMB to approve my first apportionment request for the fiscal year?

If a TAFS has any budgetary resources that are not determined by current actions of the Congress (e.g.,
permanent appropriations, carryover of unobligated balances, anticipated collections), OMB will notify you
of the action taken on your first apportionment request for the fiscal year by September 10, as required by
law (for requests submitted by the August 21 deadline specified by law). For TAFSs that have budgetary
resources solely as a result of current action by the Congress (e.g., TAFSs where the only budgetary
resource is a discretionary appropriation), OMB will notify you of the action taken on your request by
September 10 for requests submitted by August 21 or within 30 calendar days after the approval of the act
providing new budget authority, whichever is later.

120.41 In the case of newly enacted full-year appropriations, am I under an automatic
apportionment until OMB approves my first full-year enacted apportionment request?

Yes. Under this section, newly enacted full-year appropriations, including supplemental appropriations for
the current year, are automatically apportioned the pro-rata share (1/365th for each day, 1/366th for a leap-
year) of the current year's enacted appropriation level.


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Once a full-year appropriations Act is enacted, and if the Act was preceded by a short-term continuing
resolution (CR), the automatic apportionment provided by the OMB CR Bulletin is no longer in effect;
however, the amounts apportioned remain in effect even if the President enacts the full-year appropriation
bill prior to the end of the short-term CR period.

For example, a CR ending November 15th would result in a pro-rata amount of 12.60% (46 days/365 days,
non-leap year) apportioned. If the CR is extended through December 20th an additional 9.59% (35 days/365
days) would be apportioned, bringing the total percentage of the rate of operations apportioned to 22.19%
since October 1st. If full-year appropriations are enacted on December 15th (before the end of the CR
period), on December 15th you are automatically apportioned the 30 days' worth of the enacted full year
appropriation (30 days/365 days = 8.22%) pursuant to the automatic authority provided by this section.
Therefore, from October 1st through January 15th you have been apportioned a total of 30.41%, 22.19% of
the rate for operations provided by the short-term CR from the OMB CR Bulletin plus 8.22% of the final
appropriated amount pursuant to this section.

The automatic apportionment does not apply to any budgetary resource provided by authorizing legislation
or by reauthorizations that affect appropriated resources, such as the Farm Bill or surface transportation
reauthorizations. Additionally, pursuant to sections 120.7 and 120.56, automatic apportionment does not
apply to carryover amounts, which are automatically apportioned at zero until an account-specific
apportionment is approved for such amounts.

Pending OMB's approval of the first written account-specific apportionment request for full-year enacted
appropriations for the current fiscal year, agencies are automatically apportioned 30-calendar days of funds
calculated using the above rate. Note that the pro-rata share calculation does not include rescissions and
other transactions used to calculate the pro-rata share pursuant to the OMB CR Bulletin. The 30-calendar
days begin on the date of enactment of a full-year appropriation, except for after a lapse in appropriations
(see below). If OMB has not approved a request on the 30th calendar day after enactment, agencies are
automatically apportioned another 30 calendar days of funds using the above rate. This repeats until an
account-specific apportionment is approved. Once a written account-specific apportionment is approved
by OMB, the automatic apportionment ceases to remain in effect.

If an agency has not yet submitted its first written account-specific apportionment request to OMB within
the first 30-day automatic apportionment period, the agency must provide an explanation of the delay to its
OMB representative.

Under this automatic apportionment, funds are apportioned as "lump-sum". Agencies have the flexibility
to record the "lump-sum" as either Category A or Category B, whichever is applicable to the account. If the
funds are Category A, the "lump-sum" is automatically apportioned to the quarter in which the full year
appropriation is enacted. If the funds are Category B, the "lump-sum" is automatically apportioned as a
single Category B line. Additionally, all of the footnotes and conditions placed on prior year apportionments
or last-approved apportionments remain in effect. This guidance applies strictly to all budgetary resources
provided by annual full-year appropriations bills, including supplemental appropriations for the current
year, and not other budgetary resources.

For accounts that have appropriations language with permissive carveouts ("up to" or "not more than" or
"not to exceed") for a specific amount with a different period of availability (POA) than the main
appropriation, the automatic apportionment applies to the main appropriation and not to the carveout
amount. Under this scenario the agency must execute a non-expenditure transfer to move the carveout
amount and then process an account-specific apportionment to obligate those specific transferred resources.
See Exhibit 120T for further guidance on how to prepare the apportionment in these scenarios.



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After a lapse in appropriations, the automatic apportionment of full-year appropriations is in effect the day
the lapse occurred, not the date the President enacts the full-year appropriation. This situation only applies
when a full-year appropriation follows a lapse in appropriations.

If the full-year enacted appropriations are preceded by a short-term continuing resolution, see sections
120.60 and 120.62 for further guidance on how to reflect the previous approved column on your first written
account-specific apportionment request.
              AFTER YOU HAVE RECEIVED YOUR APPROVED APPORTIONMENT

120.42 How should I execute the apportionment?

You must execute your programs as apportioned and in accordance with all applicable laws. The
authorization and / or appropriation language describes the purpose of the program(s) the TAFS will carry
out, and may include guidance for you to follow in executing these programs.

Your apportionment dictates how you must execute programs and control funds. You may only obligate
funds within:

    •    budgetary resources apportioned and realized;

    •    amounts apportioned by fiscal quarter (Category A);

    •    amounts apportioned by program, project, or activity (Category B);

    •    amounts apportioned by fiscal quarters and programs, projects, or activities (Category AB); and

    •    guidance provided in OMB approved footnotes in the Application of Budgetary Resources section.

120.43 What if I think that I may have obligated more than the amounts apportioned?

You may have violated the Antideficiency Act (31 U.S.C. 1517(a)(1)). See section 145.

120.44 Must I control funds below the apportionment level?

Yes. Your agency's fund control regulations, as approved by OMB, dictate how you must control funds.
See section 150.

120.45 How should I allot once I receive an apportionment?

The agency system of administrative control of funds must be designed to keep obligations and expenditures
from exceeding apportionments and allotments or from exceeding budgetary resources available for
obligation, whichever is smaller, so as to avoid Antideficiency Act violations. See section 150.

120.46 How do I treat anticipated budgetary resources that are apportioned in the current fiscal
year but not yet realized, and do I need to reapportion them once realized?

Even when anticipated budgetary resources have been apportioned in the current fiscal year, you may not
obligate against these resources before the resources have been realized (and, thus, you may not obligate
against the resources in an amount that exceeds the amount that has been realized). For example, if OMB
has apportioned anticipated budget authority from the agency's collection of user fees, you may not obligate

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against those user fees until you have collected them (and, thus, you may not incur obligations that exceed
the amounts that have been collected). This guidance also applies to anticipated non-expenditure transfers
of budgetary resources. The transferred resources cannot be obligated against until Treasury Fiscal Service
has processed a non-expenditure transfer document and the resources are in the receiving account.

Apportioned anticipated budgetary resources, once realized, do not need to be reapportioned unless the
amount realized exceeds the conditions on the total amount apportioned (see section 120.49). However,
this only applies during the current fiscal year. For instance, if you had anticipated resources apportioned
in the prior fiscal year for a reimbursable agreement but it was not realized, you will need to reapportion
those anticipated resources in the next fiscal year.

120.47 What is the relationship between the apportionment and the Funds Control System?

The agency's system of administrative control of funds (see section 150 and Appendix H) should be
designed to keep obligations from exceeding apportioned amounts, allotments, suballotments, and other
administrative subdivisions of funds. This funds-control system also should be designed to keep obligations
from exceeding budgetary resources that have been realized, and should be able to track obligations by
program reporting categories used in the apportionment.

The funds-control system must track obligations to make sure obligated levels do not exceed:

    •    budgetary resources apportioned;

    •    amounts provided by fiscal quarter in Category A;

    •    amounts provided by program in Category B;

    •    amounts provided by program in Category AB; and

    •    other restrictions placed in OMB approved footnotes in the Application of Budgetary Resources
         section.

If the funds-control system cannot provide this control, the agency must develop other methods to perform
this function, e.g., developing monitoring reports.

Since footnotes are not often implemented in an agency's financial system, the agency's budget, finance,
and procurement staff need to be aware of and understand the directions and restrictions provided in
footnotes.

Your agency's accounting system must fully support the funds-control system (see Appendix H).


               CHANGES TO PREVIOUSLY APPROVED APPORTIONMENTS FOR
                             THE CURRENT FISCAL YEAR

120.48 What types of situations could require me to request a new apportionment?

Submit a reapportionment request to OMB when:

    •    Your budgetary resources have increased since your previous apportionment for the fiscal year
         (e.g., actual reimbursements differ significantly from estimates, newly enacted legislation provides
         more resources);

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    •    You want to obligate against the increased resources in the same fiscal year;

    •    The increase is not covered by the exceptions in sections 120.49 or 120.50 (if applicable);

    •    Your obligations against an indefinite appropriation for the remainder of the fiscal year are
         expected to exceed the amount estimated on the latest approved apportionment and the latest
         approved apportionment does not include an “A” footnote in the OMB Action column that
         automatically apportions the necessary increase in budgetary resources; or

    •    Programmatic changes result in a need for an adjustment in the apportionment.

In order to allow time for action by OMB, submit such requests well in advance of the time that the revised
amounts, to be apportioned, are needed for obligation (an apportionment for a specific time period, such as
for a specific quarter of the current fiscal year, may not be changed after the end of that period).

When emergencies, such as those involving the safety of human life or the protection of property, require
immediate action, you may request, and OMB may approve, a reapportionment by e-mail or other non-
web-based apportionment system methods (section 120.16). As soon thereafter as it is practical, submit
apportionment requests reflecting such action.

For credit program and financing TAFSs, submit an apportionment request for subsidy reestimates at the
beginning of each fiscal year (starting with the fiscal year following the year in which a disbursement is
made) as long as the loans are outstanding (see sections 185.17 and 185.18). Also submit an apportionment
request for subsidy modifications when the modification is approved by OMB (see section 185.21). Credit
program and financing TAFSs are also subject to the standard reapportionment requirements described
above (see sections 185.14 through 185.21 for further guidance on apportioning credit accounts).

Submit an apportionment request within 10 calendar days after enactment of an appropriation, substantive
act providing budget authority, where such authority is enacted after the first apportionment for the year
has been made (except as specified in section 120.49). We encourage you to begin preparation of
apportionments and related materials as soon as the House and Senate have reached agreement on funding
levels.

In some cases, you will need to submit your first apportionment request before the unobligated balance
brought forward has been precisely determined. If the unobligated balance brought forward, as shown on
the latest approved apportionment schedule, is larger than the unobligated balance at the end of the
preceding year, as reported on the final SF 133 for that year, and the difference is larger than the amount
specified in section 120.49, OMB must approve the apportionment request before you can obligate the
additional funds.

120.49 What adjustments can I make without submitting a reapportionment request?

After the first apportionment for the fiscal year, downward adjustments of any amount to budgetary
resources, including anticipated amounts, do not need to be reapportioned, unless specifically required by
OMB or, at the agency's discretion, for funds control purposes. However, if the decrease applies to amounts
apportioned in Category C, and as a result you need to increase the amounts apportioned to Category B(s)
or current Cat A or A/B(s) lines, you will have to submit a reapportionment to reflect the reallocation from
Category C. Apportioned anticipated budgetary resources, once realized in the current fiscal year of the
apportionment, do not need to be reapportioned unless the amount realized exceeds the conditions on the
total amount apportioned, as noted below.



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Although an apportionment is not required to execute a non-expenditure transfer out of a TAFS, for funds
control purposes a reapportionment should follow shortly after such a transfer is executed to reflect the non-
expenditure transfer and reduce the budgetary resources of the giving account accordingly.

After the first apportionment for the fiscal year, unless OMB determines otherwise, you may adjust
apportioned amounts upwards without submitting a reapportionment request by up to $400,000 or two
percent of the amount of total budgetary resources, whichever is lower, to reflect:

    •    Upward adjustments in the amount of unobligated balances brought forward;

    •    Increases in amounts of budget authority transfers or balance transfers; or

    •    Increases in amounts of actual budgetary resources that are realized above anticipated amounts.

You may only adjust apportioned amounts when OMB apportions either a single program, project, or
activity (Category B) or, if the total amount is apportioned, by quarter (Category A or Category AB). When
amounts are apportioned by quarter, you must adjust the apportioned amounts in the quarter that is current
when you record the resource. For example, if anticipated collections were apportioned in the third quarter
but the increased amount above the anticipated collections (still within the lower of $400,000 or two
percent) were not realized until the fourth quarter; record the resource in the fourth quarter, not the third.
This guidance is not applicable when your resources are apportioned pursuant to an automatic
apportionment. In those cases, you record the automatic apportionment of those resources in the quarter in
which they are realized.

If only the name of your apportioned account and/or bureau has changed, you do not need to submit a
reapportionment to OMB.

In credit financing TAFSs, additional amounts for the payment of interest to Treasury are automatically
apportioned (section 185.19) if the amounts needed exceed your estimate on the most recent approved
apportionment.

You cannot make any upward adjustments under this section (downward adjustments are not affected) when
OMB apportions funds for two or more categories on the same apportionment, such as Category A and
Category B, or Category A and Category AB, or two or more Category Bs, etc. In these types of apportioned
TAFSs, you must submit a reapportionment request to OMB or otherwise have prior OMB approval (e.g.,
through an OMB footnote in the Application of Budgetary Resources section that starts with the indicator
of A) to adjust apportioned amounts upward.

Apportionments are not required for transactions to send funds back to the Treasury, such as closing an
account.

120.50 What other types of adjustments can I request OMB to allow me to make without submitting
a new apportionment request?

You may make other specific types of adjustments to apportionments without submitting a reapportionment
request if specified in a footnote in the Application of Budgetary Resources section (footnote indicator
starts with letter A) on the most recently approved apportionment or otherwise approved in writing by
OMB. For example, OMB may include on an approved apportionment a footnote (with a corresponding
YES in the Line Split column of the Adjustment Authority Provided row) which states that, to the extent
provided in law, actual earned reimbursements are automatically apportioned without further OMB action.



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In order to facilitate OMB approval of your apportionment request, your apportionment request must
indicate that you have previously received, or are requesting, OMB approval to use this authority.

120.51 What is the status of previously approved apportionments when a new apportionment is
approved in the same fiscal year?

Each new apportionment in a fiscal year supersedes previous apportionment actions taken earlier that year.


                                APPORTIONMENTS BY TIME PERIOD

120.52 Will OMB apportion funds into future fiscal years?

Yes. OMB will sometimes apportion multi-year/no-year funds into future fiscal years using a Category C.
OMB cannot apportion annual funds into a future fiscal year.

The Congress appropriates funds on a multi-year and no-year basis with the expectation that the funds will
be obligated over more than one fiscal year. OMB will apportion these TAFSs beyond the current fiscal
year where financial requirements are known in advance and it makes programmatic sense to do so.

When you plan to obligate amounts appropriated in a no-year or multi-year TAFSs over more than one
fiscal year, make sure that the apportionment request shows the full amount appropriated and available for
obligation in the current fiscal year. The request must also include planned obligations for the current year
and amounts planned for obligation in future fiscal years.

Note: apportionments last no longer than one fiscal year. Funds must be apportioned at the beginning of
each fiscal year in accordance with sections 120.7 and 120.56.

120.53 When do I use lines 6180 (withheld pending rescission) or 6181 (deferred)?

Do not use these lines on your apportionment without first consulting with your OMB representative. These
lines are used to reflect a proposed rescission or deferral under the authority of the Impoundment Control
Act of 1974. If these lines are used on your apportionment, you must submit a rescission or deferral report
that outlines the reasons for and the effects of the proposed action. See section 112 for further information
on the use of these lines and preparing rescission and deferral reports.

120.54 Can OMB reapportion a past period?

No. Apportionments are never subject to change after the period for which the apportionment was made
(e.g., a prior fiscal year or a past quarter time period in the current fiscal year).

For apportionments with Category A amounts, once funds are apportioned, the apportionment cannot be
retroactively changed to show a different apportioned amount if that quarter has passed. For instance, if
your first quarter apportioned amount was overestimated but in a subsequent quarter the realized actuals
were much lower than the estimated amount, you would do the following on the reapportionment:

    •    First quarter apportioned amount remains as previously apportioned;

    •    Current quarter (i.e., second, third or fourth) reflect a negative amount so as to net to the correct
         total amount that needs to be reapportioned.

See exhibit 120K for an example.

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Here are examples of where OMB is not reapportioning a past period: apportionments that simply reflect a
past automatic apportionment on a subsequent account-specific apportionment, such as the initial account-
specific apportionment following a continuing resolution (because the apportionment was in fact in effect
during the past quarter time period); or where budget authority has been expressly appropriated to cover
prior obligations.

See section 120.41 for additional guidance about the automatic apportionment of budgetary resources when
a full-year appropriations Act follows a lapse in appropriations.

120.55 Do unobligated resources apportioned in earlier time periods of the same fiscal year
remain available?

Yes. When budgetary resources are apportioned for time periods of less than a fiscal year (e.g., fiscal
quarters), any apportioned amounts that have not been obligated at the end of any period will remain
available for obligation through the remainder of the current fiscal year without being reapportioned, unless
otherwise specified on the apportionment. However, this rule does not apply to unobligated balances
apportioned during a short-term continuing resolution that is followed immediately by a lapse in
appropriations (see section 123.16).

120.56 Must I request that funds apportioned in one fiscal year be apportioned in the next fiscal
year if the funds were not obligated and remain available?

Yes. When budgetary resources remain available (unexpired) beyond the end of a fiscal year, you must
submit a new apportionment request for the upcoming fiscal year. You cannot incur obligations in any year
absent an approved apportionment for that year. For instance, if OMB apportioned $1 million for a no-year
TAFSs in FY 2018 and you obligated no funds, you must still submit an FY 2019 request and receive OMB
approval of that request before incurring obligations in FY 2019. Until you receive an account-specific
apportionment from OMB, the amount of carryover apportioned is zero dollars. In addition, apportioned
anticipated or estimated resources are not available for obligation until the resources are realized.

120.57 What is the status of approved apportionments from a previous fiscal year on apportionments
in the current fiscal year?

New apportionment action for a fiscal year is independent of all apportionment actions of the previous year,
including the apportionment of amounts under Category C in the previous fiscal year.

120.58 How does the last approved apportionment govern the actions a TAFS takes when the TAFS
enters the expired phase?

Every annual and multi-year TAFSs, as well as some no-year TAFSs, has a finite period of time to incur
an obligation; this is called the unexpired phase. OMB only apportions TAFSs in the unexpired phase.

When shifting to the expired phase, a TAFS can only make adjustments to obligations made in the unexpired
phase. Activity in the expired phase of a TAFS is governed by the last approved apportionment, including
apportioned footnotes in the OMB Action column of the Application of Budgetary Resources section.

In some instances, there may be a subset of resources in a no-year TAFS that are no longer available for
new obligations. This does not impact the phase (e.g.., expired or unexpired) of the entire TAFS.




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            APPORTIONMENTS AFFECTED BY A CONTINUING RESOLUTION (CR)

120.59 During a CR, what happens to TAFSs that were apportioned before the start of a fiscal year
(e.g., no-year TAFSs)?

When budgetary resources (e.g., unobligated balances, spending authority from offsetting collections,
anticipated transfers) are apportioned prior to the start of a fiscal year, those apportionments remain in effect
even if a CR is enacted, unless otherwise directed by OMB.

However, you must submit a new apportionment request to OMB if:

    •    The CR changes the funding level or alters the program mix that OMB apportioned (e.g., the
         Congress rescinds unobligated balances during the CR period or zero-funds a program that OMB
         previously apportioned); or

    •    Changes occur that affect the budgetary resources apportioned as described in sections 120.48
         through 120.50 (e.g., actual reimbursements differ significantly from estimates).

The automatic apportionment approved by OMB after enactment of a short-term CR (OMB CR Bulletin)
covers only the budgetary resources provided by the short-term CR. Some TAFSs may receive funds
provided by the CR in addition to budgetary resources provided by other acts. These TAFSs receive both
the automatic apportionment for the CR funds and any budgetary resources apportioned before the start of
the fiscal year (e.g., unobligated balance carried forward).

If you chose to seek reapportionment of the TAFS during the CR period and you and the RMO agree not
to reflect the amounts from the CR in the reapportionment, then you must include a footnote in the
reapportionment to indicate that the account is also receiving apportioned resources from the CR. See
section 123.17 for the footnote language.

120.60 After a CR has been replaced by a full-year enacted appropriation, what do I show in the
Previous Approved column?

Unless otherwise requested by your RMO, in the Previous Approved column, show all budgetary resources
and apportioned amounts since the start of the fiscal year through the last day of the CR (in accordance with
the most recent OMB CR Bulletin on the "Apportionment of the Continuing Resolution(s) for Fiscal Year
20XX") plus the amounts automatically apportioned pursuant to section 120.41. For example, amounts on
line 1100, discretionary appropriations, should show the short-term CR's calculated rate for operations.
Additionally, a footnote on line 1134 Appropriations precluded from obligation (or line 1135 for a special
or trust fund TAFS), should state the following: "Amount on line 1134 (or line 1135) has been adjusted
pursuant to OMB CR Bulletin XX-XX and Circular A-11 section 120.41." (see exhibit 120G). For instance,
if budgetary resources such as unobligated balances were apportioned by OMB and the TAFS also received
automatically apportioned CR funds via the OMB CR Bulletin(s) and section 120.41, you must show both
types of budgetary resources on your apportionment request.

If you were apportioned under the CR with a POA that was changed in the full-year enacted appropriations,
see section 120.62 for further apportionment guidance.

120.61 After a short-term CR has been replaced by a full-year enacted appropriation, what do I
show in the agency request column?

In the agency request column, show all budgetary resources and application of budgetary resources for the
entire fiscal year, beginning from the start of the fiscal year. See section 120.54 and exhibit 120G. See
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Exhibit 120H if you received OMB concurrence during the short-term CR period to record your lump-sum
automatic apportionment as Category A.

Note that while an account is under the automatic apportionment authority in section 120.41, GTAS
reporting will not show any amounts on line 1134 unlike the previously approved column of the first
apportionment post-CR. Instead, GTAS will report those amounts on line 2403 in the Status of Budgetary
Resources section of a SF 133.

120.62 What do I do if the full-year enacted appropriation changes the period of availability of funds
apportioned under a short-term CR?

If the POA of funds under a short-term CR was changed by the full-year enacted appropriations, you must
submit two account-specific apportionments. Under the short-term CR, you were apportioned for that
specific POA and all obligations were valid; however, the CR states that expenditures made pursuant to the
CR shall be charged to the applicable appropriation, fund, or authorization whenever a bill in which such
applicable appropriation, fund, or authorization is contained is enacted into law.

In the situation where the entire POA of the TAFS changed in the final bill, you must prepare the following
apportionments. In this scenario the CR POA was annual and the final enacted appropriation POA was
multi-year.

    •    For the POA that was under the CR, you will reflect "0" on lines 1100 discretionary appropriation
         and 1134 appropriation excluded from obligation (or 1135 for special and trust funds) and place
         the following "A" footnote on line 6190 total budgetary resources available in the previously
         approved column only:

                    "Under the FY 2020 short-term continuing resolution (CR) (P.L. XXX-XXX, as
                     amended) this account was appropriated as an annual TAFS (put TAFS number here)
                     and was apportioned by OMB Bulletin 19-XX. The full-year FY 2020 appropriation
                     (P.L. XXX-XXX) enacted the funding within a multi-year TAFS (put TAFS number
                     here) and was automatically apportioned via OMB Circular A-11 section 120.41.
                     Pursuant to section XXX (check CR for actual section number, e.g., 105) of the FY
                     2020 CR, any obligations/outlays made with the previous annual appropriation shall
                     now be redistributed (or recasted) to the new multi-year TAFS (put TAFS number
                     here)."

    •    For the POA that is enacted in the full-year bill, you will reflect the CR (lines 1100 discretionary
         appropriations and 1134 appropriation excluded from obligation or 1135 for special or trust funds)
         in the previous approved column (see section 120.60 for "B" footnote on line 1134 or 1135) and
         place the following "A" footnote on line 6190 total budgetary resources available:

                    "Under the FY 2020 short-term continuing resolution (CR) (P.L. XXX-XXX, as
                     amended) this account was appropriated as an annual TAFS (put TAFS number here)
                     and was apportioned by OMB Bulletin 19-XX. The full-year 2020 appropriation (P.L.
                     XXX-XXX) enacted the funding within this multi-year TAFS (put TAFS number here)
                     and was automatically apportioned via OMB Circular A-11 section 120.41. Pursuant
                     to section XXX (check CR for actual section number, e.g., 105) of the FY 2020 CR,
                     any obligations/outlays made with the previous annual appropriation shall now be
                     redistributed (or recasted) to this new multi-year TAFS (put TAFS number here)."

There may be cases where the POA is only changed partially by the full-year enacted appropriations bill.
If this occurs, please contact your OMB representative for guidance.

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SECTION 120—APPORTIONMENT PROCESS


WHAT OTHER IMPORTANT THINGS DO I NEED TO KNOW ABOUT APPORTIONMENTS?

120.63 What types of resources are apportioned by OMB?

The following resources are apportioned by OMB:

    •    Budgetary resources;

    •    Non-budgetary resources (such as foreign currency, quotas, etc.); and

    •    An agency's other authority (pursuant to statutory authority) in whatever form it may take.

120.64 Are all apportionments based on authority to incur obligations?

OMB usually apportions the budgetary resources of a TAFS with respect to the authority to incur new
obligations.

However, OMB may apportion budgetary resources on a pre-obligation basis, such as "commitments,"
which, if used, are made before obligations are incurred. If OMB apportions on a basis other than
obligations, you should continue to include your usual obligations in the GTAS system, but in addition, you
must report a GTAS footnote regarding the status of the non-obligation apportioned items, i.e., footnote the
amount of "commitments" incurred against the amount shown on the apportionment.

120.65 How do I treat extensions of the availability of unobligated balances in an apportionment?

Reappropriations (see section 20.4(h)) are recorded on lines 1105 Discretionary Reappropriation or 1204
Mandatory Reappropriation. For example, an apportionment for FY 2019 should reflect an estimate of the
amount to be reappropriated from the estimated expiring FY 2018 balances. A reapportionment may be
required after the actual amount of the expiring balances is known. You may wish to reflect these amounts
on either lines 1134 Discretionary appropriations precluded from obligation (use for only general fund
TAFS; use line 1135 for special or trust fund TAFS) or 1235 Mandatory appropriations precluded from
obligation, until an appropriate time after the required reprogramming notice has been transmitted to the
Congress.

Balance transfer amounts from expired to unexpired funds, are reflected on line 1012 Unobligated balance
transfers between expired and unexpired accounts.


                         HANDLING DEFICIENCIES IN APPORTIONMENTS

120.66 When and how do I submit apportionments anticipating the need for the Congress to enact
supplemental budget authority?

Submit requests anticipating the need for the Congress to enact supplemental budget authority only under
exceptional circumstances as authorized by law. The Antideficiency Act (31 U.S.C. 1515) permits
apportionments to be made on such a deficient-rate basis that indicates the need for the Congress to enact
supplemental budget authority only when:

    •    Laws enacted after submission to the Congress of the estimates for an appropriation require an
         expenditure beyond administrative control.



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    •    Emergencies arise involving:

                    (1) the safety of human life;

                    (2) the protection of property; or

                    (3) the immediate welfare of individuals in cases where an appropriation that would
                     allow the United States to pay, or contribute to, amounts required to be paid to
                     individuals in specific amounts fixed by law or under formulas prescribed by law, is
                     insufficient.

When you submit a requested apportionment that indicates a necessity for the enactment of supplemental
appropriations, include the following notation on the apportionment request:

"This apportionment request indicates a necessity for a supplemental appropriation now estimated at
$_____________."

Submit the apportionment request to OMB along with your agency head's determination of the reasons for
a deficiency apportionment, as required by law (31 U.S.C. 1515). The statement of necessity will read as
follows:

"I hereby determine that it is necessary to request apportionment of the appropriation '(appropriation title)'
on a basis that indicates the necessity for a supplemental estimate of appropriations, because .... [cite one
of the allowable reasons mentioned above]."

Usually, you will reflect the need for a supplemental appropriation in quarterly apportionments by making
the request for the fourth quarter less than the amount that will be required. For apportionments by
activities, verify that the amount requested for each activity provides for continuing that activity until the
supplemental appropriation is expected to be enacted and become available. OMB approval of requests for
a deficiency apportionment allows the agency to operate at a deficient rate of operations, but does not
authorize the agency to exceed the total amount of the existing appropriation and of the resources that OMB
has apportioned within a TAFS.

Fully justify the amount of any anticipated supplemental appropriation. Action on the apportionment
request does not commit OMB to the amount of the supplemental appropriation that will be recommended
subsequently to the President or transmitted to the Congress.

A deficiency apportionment cannot be requested to provide obligational authority in the event of a lapse of
appropriations. The obligational authority for such a circumstance is provided by 31 U.S.C. 1342, and is
automatically apportioned via section 124.5.


                               PROGRAM REPORTING CATEGORIES

120.67 What is the purpose of program reporting categories?

Program reporting categories show how agencies will report obligations on their SF 133 Reports on Budget
Execution and Budgetary Resources (see section 130). Absent program reporting categories, agencies
report obligations on their SF 133 reports in accordance with their approved apportionments. For instance,
if OMB uses a single Category B project on the apportionment and does not use program reporting
categories, the SF 133 report will show obligations on a single line.


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SECTION 120—APPORTIONMENT PROCESS


You should use program reporting categories when you want obligations reported at a more detailed and
programmatically meaningful manner than the apportioned lines would otherwise result in. If program
reporting categories were used in the case above, the SF 133 report would show obligations on two or (most
likely) more lines. For instance, if a Department of the Interior account had a single Category B project but
program categories for maintaining land resources and protecting endangered species, the
SF 133 report would distinguish obligations by these categories. While program reporting categories result
in more detailed reporting on obligations, they do not control what the agency can obligate for these
categories.

Most TAFSs do not use program reporting categories.

120.68 Do my estimates of program reporting category obligations limit the amount I can obligate?

No. Program reporting categories are not used to apportion funds, and are not subject to the Antideficiency
Act.

120.69 What do OMB and the agency need to do to start using program reporting categories?

OMB and agencies work together to determine what program reporting categories agencies will report
upon. Program reporting categories should be based on elements that agencies track in their financial
systems. In some cases, you may choose to report upon the same programs that appear in the Program and
Financing Schedule of the President's Budget.

Because the level of reporting is lower level than the apportionment categories, program reporting
categories should be identified in advance of the beginning of a fiscal year if at all possible, and in advance
of the time that agencies produce their first apportionment requests for the year. The reason is that agencies
need time to place entries in their financial systems to allow them to track these program categories
throughout the year. One reason is that large numbers of staff including timekeepers, procurement staff,
administrative officers, and others need to document the new program reporting categories, and train
program office staff on how to use the new categories. In addition, agencies may need time to update their
systems to extract the data.

120.70 How do I fill in the program reporting category tab?

The apportionment user's guide that appears on the support\links tab of the apportionment system describes
how to fill in the program reporting category tab. The URL for the apportionment system is:
https://apportionment.max.gov.

120.71 Why does OMB send the names of program reporting categories and Category B projects to
Treasury for use in GTAS?

OMB sends program reporting categories from approved apportionments to the Treasury Department's
Bureau of the Fiscal Service, which operates the GTAS system that agencies use to report their SF 133
budget execution information. When reporting their obligations, GTAS provides agencies with the list of
program reporting categories to report upon; these are the same program reporting categories that OMB
provides from the apportionment attachments.

For those TAFSs that use Category B projects but do not use program reporting categories, OMB sends
Fiscal Service the list of Category B projects for use in GTAS reporting.

OMB sends this information to Fiscal Service so OMB can use automated tools to align program reporting
categories and Category B projects on the apportionments to the budget execution reports.
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APPORTIONMENT PROCESS                                                                                                                                                                                     EXHIBIT 120A




                                                                                             PROGRAM REPORTING CATEGORIES FORMAT


                                                                                                              Program Reporting Categories


                                                          Availability Type
         Agency Identifier

                             Beginning POA




                                                                                                             Report Cat No.
                                                                              Main Account
                                             Ending POA




                                                                                               SF 132 Line
                                                                                                                              Program Reporting Category                              Projected, Annual Obligations

        080                                                X 1309                             6001 1                          Salaries                                                400,000
        080                                                X 1309                             6001 2                          All Other                                               80,000
        080                                                                                                                   Cat A, Sub-total                                        480,000
        080                                                X 1309                             6011 3                          Research -- Air                                         8,880,000
        080                                                X 1309                             6011 4                          Research -- Water                                       4,000,000
        080                                                X 1309                             6011 5                          Research -- All Other                                   N/A
        080                                                                                                                   Research, Sub-total                                     12,880,000
        080                                                X 1309                             6012 6                          Development -- Air                                      5,450,000
        080                                                X 1309                             6012 7                          Development -- Water                                    4,000,000
        080                                                X 1309                             6012 8                          Development -- All Other                                N/A
                                                                                                                              Development, Sub-total                                  9,450,000

        Note: Program reporting categories are not used to apportion funds, and are not subject to 31 USC 1517.




                                                                                                                               Note how the program reporting categories relate to
         When the Report Cat No has a number                                                                                                                                                Check with OMB on
                                                                                                                               apportioned amounts in Exhibit 120D's Office of the
         between 1 - 100, the stub will be sent to                                                                                                                                          whether you need to put in
                                                                                                                               Secretary apportionment.
         the GTAS system for use in budget                                                                                                                                                  projected, annual
         execution reporting.                                                                                                                                                               obligations.

         You may also include additional rows                                                                                                                                               Note also that the amounts in
         where the Report Cat No is blank. In this                                                                             Do not use program reporting categories that are             this column do not need to
         example, these rows serve as sub-totals.                                                                              identical to Category B projects. The simple rule is         add to the total amount on
                                                                                                                               that you use two or more reporting categories for            the apportioned lines.
                                                                                                                               each Cat B project.




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EXHIBIT 120B                                                                                                                                                APPORTIONMENT PROCESS


                                  One-Year Appropriation—First Apportionment for the Current Fiscal Year

                                                                                FY 20xx Apportionment
                                                                        Funds provided by Public Law XXX-XXX                                                       Identify in the header the law(s)
                                                                                                                                                                   providing the budget authority.




                                                                                                                                              Agency Footnote




                                                                                                                                                                             OMB Footnote
                                                                                                                  Prev Footnote
            Line                                                                                     Previous                     Agency                          OMB
 Line No    Split                                  Line Description                                  Approved                     Request                         Action                             Memo Obligations

                                                                                                     IfLeave
                                                                                                        you leave   "Previous Approved"
                                                                                                              the "Previous                                                                 On the initial apportionment,
                    Department of Government                                                         column
                                                                                                      Approved"blankcolumn
                                                                                                                     on initial
                                                                                                                            blank on                                                        this line entry represents the
                                                                                                     apportionments    but wereofunder
                                                                                                      the first apportionment     the                                                       amount of appropriations
                    Bureau: Office of the Secretary                                                  automatic apportionment(s), then                                                       becoming available on or after
                    Account: Salaries and Expenses (XXX-XX-XXXX)                                     state so in an "A" footnote on line                                                    October 1 of the fiscal year for
                                                                                                     6190 of the "Previous Approved"                                                        which the apportionment is
                    TAFS: 080-20xx-20xx-0137                                                         column.                                                                                submitted.



 IterNo       1     Last Approved Apportionment: N/A, First Request of year
 RptCat      NO     Reporting Categories
 AdjAut      NO     Adjustment Authority provided                                                                                                                                           This entry includes any funds
                                                                                                                                                                                            not available for obligation
                                                                                                                                                                                            pursuant to a specific provision
                                                              Include an estimate of all amounts you                                                                                        in law. Identify the public law
                                                              anticipate will become available under                                                                                        containing the restriction in a
                                                              existing law in the fiscal year for which                                                                                     "B" footnote. 31 U.S.C 1512
                                                              the schedule is submitted. Do not include                                                                                     and the Impoundment Control
                                                              anticipated unenacted supplemental                                                                                            Act are not valid authorizing
  1100              BA: Disc: Appropriation                                                                                       7,400,000                      7,400,000                  citations.
                                                              appropriations and rescission proposals.

  1130              BA: Disc: Appropriations permanently reduced                                                                     -1,000                         -1,000

  1840              BA: Mand: Spending auth:Antic colls, reimbs, other                                                             403,000                        403,000                   The inclusion of estimates in
                                                                                                                                                                                            determining the amounts
                                                                                                                                                                                            available for apportionment
                                                                                                                                                                                            does not authorize you to
                                                                                                                                                                                            obligate amounts anticipated for
                                                                                                                                                                                            the rest of the year (see section
                                                                                                                                                                                            145.6).


  1920              Total budgetary resources avail (disc. and mand.)                                         0                   7,802,000                      7,802,000



  6001              1st quarter                                                                                                   1,952,000                      1,952,000

  6002              2nd quarter                                                                                                   1,950,000                      1,950,000

  6003              3rd quarter                                                                                                   1,950,000                      1,950,000
                                                                                                                                                                                            The total amount on line 1920
                                                                                                                                                                                            must equal the total amount on
  6004              4th quarter                                                                                                   1,825,000                      1,825,000                  line 6190.


  6011              Prairie Restoration Fund                                                                                       125,000 A1                     125,000 A1

  6190              Total budgetary resources available                                                       0                   7,802,000                      7,802,000

                                                                                                                                                                    Display the text of any
                                                                                                                                                                    footnotes in a separate
                                                                                                                                                                    tab in your Excel file.
Exhibit Notes:
        1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

       2) Per section 120.41, newly enacted appropriations are automatically apportioned for a temporary period. If you choose to leave the previous approved column
          blank and were under an automatic apportionment(s), then state so in an "A" footnote on line 6190 in in that column.




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APPORTIONMENT PROCESS                                                                                                                                                                     EXHIBIT 120C


                                  No-Year Appropriation—First Apportionment for the Current Fiscal Year


                                                                               FY 20xx Apportionment
                                                                                                                                         Identify in the header the law(s)
                                                                       Funds provided by Public Law XXX-XXX                              providing the budget authority.




                                                                                                                                                  Agency Footnote




                                                                                                                                                                                 OMB Footnote
                                                                                                                 Prev Footnote
            Line                                                                                   Previous
 Line No                                          Line Description                                                               Agency Request                     OMB Action                  Memo Obligations
            Split                                                                                  Approved




                                                                                          If you leave "Previous
                    Agency: Department of Government                                      Approved" column blank on
                                                                                          initial apportionments but were
                    Bureau: Office of the Secretary                                       under automatic                                    If the account must be apportioned before the actual
                    Account: R & D (XXX-XX-XXXX)                                          apportionment(s), then state so in                 unobligated balance is known, enter an estimated
                                                                                          an "A" footnote on line 6190.                      amount on this line. Type 'E' in the line split
                    TAFS: 080-X-1309                                                                                                         column. If adjustments are subsequently required,
                                                                                                                                             submit a reapportionment, except as provided in
                                                                                                                                             section 120.49.
IterNo  1 Last Approved Apportionment: N/A, First Request of year
RptCat NO Reporting Categories
AdjAut NO Adjustment Authority provided                                                                                                      Use this line to report expected cancellations or
                                                                                                                                             downward adjustments of prior year unpaid and paid
                                                                                                                                             obligations reported in prior years for unexpired
                                                                                                                                             accounts.


 1000       DE Unob Bal: Brought forward, Oct 1                                                                                      1,180,000                       1,180,000
               [line split = E for estimate]
               [line split = A for actual balance]

 1061               Unob Bal: Antic recov of prior year unpd and pd obl                                                                150,000                         150,000 Include only amounts
                                                                                                                                                                                  expected to be received
                                                                                                                                                                                  and to become available
 1100               BA: Disc: Appropriation                                                                                        25,000,000                       25,000,000 without further
                                                                                                                                                                                  congressional action.
 1740        1      BA: Disc: Spending auth:Antic colls, reimbs, other                                                                 300,000                         300,000

 1740        2      BA: Disc: Spending auth:Antic colls, reimbs, other                                                                 100,000                         100,000



 1920               Total budgetary resources avail (disc. and mand.)                                        0                     26,730,000                       26,730,000




 6001               1st quarter                                                                                                        120,000                         120,000

 6002               2nd quarter                                                                                                        120,000                         120,000

 6003               3rd quarter                                                                                                        120,000                         120,000

 6004               4th quarter                                                                                                        120,000                         120,000

 6011               Research                                                                                                       12,800,000                       12,800,000

 6012               Development of Products                                                                                          9,450,000                       9,450,000

 6170               CY+1             No-year and multi-year TAFS can have apportioned                                                4,000,000 A2                    4,000,000 A2
                                     amounts in future fiscal years (Category C). When
                                     using line 6170, provide the future fiscal years.




 6190               Total budgetary resources available                                                      0                     26,730,000                       26,730,000
                                                                                                                                       Display the text of any
                                                                                                                                       footnotes in a separate tab
                                                                                                                                       in your Excel file.
Exhibit Notes:
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

       2) Per section 120.41, newly enacted appropriations are automatically apportioned for a temporary period. If you choose to leave the previous approved column
          blank and were under an automatic apportionment(s), then state so in an "A" footnote on line 6190 in in that column.




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EXHIBIT 120D                                                                                                                                            APPORTIONMENT PROCESS



                                                             No-Year Appropriation—Reapportionment


                                                                                    FY 20xx Apportionment
                                                                                                                                           Identify in the header the law(s)
                                                                              Funds provided by Public Law XXX-XXX                         providing the budget authority.




                                                                                                                                                          Agency Footnote




                                                                                                                                                                                            OMB Footnote
                                                                                                                       Prev Footnote
           Line
 Line No                                         Line Description                                 Previous Approved                    Agency Request                       OMB Action                     Memo Obligations
           Split




                   Agency: Department of Government
                   Bureau: Office of the Secretary
                   Account: R & D (XXX-XX-XXXX)
                   TAFS: 080-X-1309                                                                                                                                               If you need to reapportion after
                                                                                                                                                                                  final unobligated balances are
                                                                                                                                                                                  determined, change the line split
                                                                                                                                                                                  from E to A. For more information
IterNo  2 Last Approved Apportionment: 9/10/CY                                                                                                                                    about when a reapportionment is
                                                                                                                                                                                  necessary, please see section
RptCat NO Reporting Categories                                                                                                                                                    120.49.
AdjAut YES Adjustment Authority provided




 1000      DE Unob Bal: Brought forward, Oct 1                                                            1,298,000                                                                             On a reapportionment,
                                                                                                                                                                                                this entry will include
           DA [line split = DE for estimated balances of discretionary]                                                                     1,610,000                        1,610,000          enacted appropriations,
              [line split = DA for actual balance of discretionary]                                                                                                                             amounts certified by
                                                                                                                                                                                                Treasury warrant of
                                                                                                                                                                                                indefinite appropriations,
 1061              Unob Bal: Antic recov of prior year unpd/pd obl                                          150,000                           150,000                           150,000         any enacted
                                                                                                                                                                                                supplemental
 1100              BA: Disc: Appropriation                                                              25,000,000                        25,000,000                        25,000,000          appropriation, and any
                                                                                                                                                                                                appropriated receipts in
                                                                                                                                                                                                special and trust funds.
 1130              BA: Disc: Appropriations permanently reduced                                                                              -200,000                          -200,000         See Appendix F for
                                                                                                                                                                                                applicable line numbers.
 1700              BA: Disc: Spending auth: Collected                                                                                          95,000                            95,000

 1740        1     BA: Disc: Spending auth:Antic colls, reimbs, other                                       300,000                           205,000                           205,000                    Anticipated
                                                                                                                                                                                                           resources should
                                                                                                                                                                                                           be adjusted to
 1740        2     BA: Disc: Spending auth:Antic colls, reimbs, other                                       100,000                           100,000                           100,000                    actual resources on
                                                                                                                                                                                                           subsequent
                                                                                                                                                                                                           apportionments.




 1920              Total budgetary resources avail (disc. and mand.)                                    26,848,000                        26,960,000                        26,960,000




 6001              1st quarter                                                                             120,000                            120,000                           120,000                                36,000

 6002              2nd quarter                                                                             120,000                            120,000                           120,000

 6003              3rd quarter                                                                             120,000                            120,000                           120,000

 6004              4th quarter                                                                             120,000                            120,000                           120,000

 6011              Research                                                                             16,800,000                        12,880,000                        12,880,000

 6012              Development of Products                                                                9,568,000                         9,600,000                        9,600,000                              1,348,250
                                    No-year and multi-year TAFS can have apportioned amounts
 6170              CY +1            in future fiscal years (Category C). When using line 6170,                                              4,000,000                        4,000,000
                                    provide the future fiscal years.
 6190              Total budgetary resources available                                                  26,848,000                        26,960,000 A1                     26,960,000 A1




Exhibit Notes:                                                                                                                                                              Display the text of any footnotes
                                                                                                                                                                            in a separate tab in your Excel
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.                                                    file.

       2) Unless OMB determines otherwise, when amounts are automatically apportioned (see section 120.50), and there is a subsequent need for reapportionment, reflect
          adjustments previously made as automatic apportionments in the "Previous Approved" column. In such cases, footnote what changes were automatically apportioned.



       3) Exhibit 130C illustrates the SF 133 for this account.




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APPORTIONMENT PROCESS                                                                                                                                                                                     EXHIBIT 120E



                                            One-Year Appropriations Under Continuing Resolution (CR)

                                                                                                                                     Identify in the header the law(s) providing the budget authority. If a
                                                                                  FY 20xx Apportionment                              CR is extended multiple times, include the citation of first CR "as
                                                                          Funds provided by Public Law XXX-XXX                       amended" (not the subsequent amendments). However, if a new,
                                                                                                                                     separate CR is passed (e.g. after a lapse in appropriations), cite the
                                                                                                                                     new CR as well as the first CR.




                                                                                                                                                        Agency Footnote




                                                                                                                                                                                           OMB Footnote
                                                                                                                     Prev Footnote
          Line                                                                                          Previous                         Agency
Line No                                            Line Description                                                                                                       OMB Action                        Memo Obligations
          Split                                                                                         Approved                         Request




                  Agency: Department of Government
                  Bureau: Office of the Secretary
                                                                                                                                                                           Even though a short-term CR is for part
                  Account: Salaries and Expenses (XXX-XX-XXXX)                                                                                                             of a fiscal year, you still show the total
                  TAFS: 080-20xx-20xx-0137                                                                                                                                 annualized level (i.e., rate for operations)
                                                                                                                                                                           provided by the CR on line 1100 (not the
                                                                                                                                                                           pro-rata share apportioned for the time
                                                                                                                                                                           period of the CR).
IterNo 1 Last Approved Apportionment: N/A, First Request of year
RptCat NO Reporting Categories
AdjAut NO Adjustment Authority provided

                                                                                                                                                                                       For a short-term CR, show
                                                                                                                                                                                       the amount of BA that is
                                                                                                                                                                                       currently not provided
 1100             BA: Disc: Appropriation                                                                                               24,000,000 B1                      24,000,000 B1
                                                                                                                                                                                       under the given time
                                                                                                                                                                                       period of the CR as a
 1134             BA: Disc: Appropriations precluded from obligation                                                                   -22,030,000 B2                                  negative on line 1134 (for
                                                                                                                                                                          -22,030,000 B2
                                                                                                                                                                                       special or trust fund TAFS,
                                                                                                                                                                                       you must use line 1135).
                                                                                                                                                                                       (See section 123.2 for
                                                                                                                                                                                       guidance.)
 1740             BA: Disc: Spending auth:Antic colls, reimbs, other                                                                     1,348,260                          1,348,260



 1920             Total budgetary resources avail (disc. and mand.)                                              0                       3,318,260                          3,318,260


                                      Note that funds made available by the continuing resolution
 6001             1st quarter         ($24,000,000 - $22,030,000) are all apportioned as lump sum                                        1,348,260 A3                       1,348,260 A3
                                      by the OMB short-term CR apportionment bulletin.
 6002             2nd quarter         You can either show the lump-sum amount in Cat B (as shown                                                    0                                  0
                                      on line 6011) OR if you typically apportion Cat A, the entire                                                                                             Display the text of any
                                      lump-sum amount in the first quarter (line 6001). If the short-                                                                                           footnotes in a separate
 6003             3rd quarter                                                                                                                       0                                  0        tab in your Excel file.
                                      term CR gets extended and enacted in a subsequent quarter,
                                      you would reflect the additive amount as lump-sum in the
 6004             4th quarter         quarter current at that time.                                                                                 0                                  0

 6011             Lump Sum                                                                                                               1,970,000                          1,970,000

 6190             Total budgetary resources available                                                            0                       3,318,260                          3,318,260




Exhibit Notes:
     1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

      2) Generally, the OMB CR Bulletin will automatically apportion funds made available by a CR without requiring you to submit an account-specitic apportionment
         request (see section 123.3, 120.59). However, you may submit, or OMB may require you to submit a request.




OMB Circular No. A–11 (2024)                                                                                                                                                      Page 37 of Section 120
         Case 1:25-cv-01111-EGS                                                      Document 13-7                                  Filed 04/22/25                                                   Page 41 of 80
EXHIBIT 120F                                                                                                                                                                 APPORTIONMENT PROCESS


                                                    Appropriations and Unobligated Balances Under a Continuing Resolution (CR)


                                                                                                                     FY 20xx Apportionment
                                                                                                                                                                       Identify in the header the law(s) providing the budget
                                                                                                             Funds provided by Public Law XXX-XXX                      authority.




                                                                                                                                                                                   Agency Footnote




                                                                                                                                                                                                                    OMB Footnote
                                                                                                                                                Prev Footnote
                                            Line
                                  Line No                                     Line Description                             Previous Approved                    Agency Request                       OMB Action                    Memo Obligations
                                            Split




                                                                                                                        Amounts in the "Previous
                                                    Agency: Department of Government                                    Approved" column are
   Change the line split from                                                                                                                                                      If you need to reapportion after final unobligated
   DE to DA when the final                          Bureau: Office of the Secretary                                     amounts from the initial
                                                                                                                        apportionment approved                                     balances are determined, change the line split from E to
   determination of                                 Account: R & D (XXX-XX-XXXX)                                                                                                   A. For more information about when a reapportionment
   unobligated balances is                                                                                              before October 1 of the
                                                    TAFS: 080-X-1200                                                    applicable FY.                                             is necessary, please see section 120.49.
   reported. If the amount
   on this line does not agree
   with the amounts: (a)
   reported on the final SF
   133 of the preceding year;     IterNo 2 Last Approved Apportionment: 9/10/CY                                                                                                                                                            11/30/2018
   (b) reported to the            RptCat NO Reporting Categories
   Treasury for inclusion in      AdjAut NO Adjustment Authority provided
   the Treasury Combined
   Statement Appendix; or                                                                                                                                                                                              Even though a short-term
   (c) presented in the                                                                                                                                                                                                CR is for part of a fiscal
                                                                                                                                                                                                                       year, you still show the
   Budget Appendix as a past                                                                                                                                                                                           total annualized level
   year actual amount,                                                                                                                                                                                                 (e.g., rate for operations)
   footnote line 1000 to            1000 DE Unob Bal: Brought forward, Oct 1                                                      50,689,324                                                                           provided by the CR on
   explain the difference.               DA [line split = DE for estimate of discretionary balances]                                                                60,000,000                         60,000,000      line 1100 (not the pro-rata
                                                                                                                                                                                                                       share apportioned for the
                                            [line split = DA for actual discretionary balances]                                                                                                                        time period of the CR).


                                    1100            BA: Disc: Appropriation                                                                                         24,000,000                         24,000,000

                                    1134            BA: Disc: Appropriations precluded from obligation                                                             -22,030,000                        -22,030,000
   Lines 1700 and 1740, as
   well as the
   memorandum entry on              1700            BA: Disc: Spending auth: Collected                                                                                    1,500                             1,500
   obligations,                                                                                                                                                                                                        For a short-term CR, show
   should reflect the                                                                                                                                                                                                  the amount of BA that is
   amount shown on the              1740     1      BA: Disc: Spending auth:Antic colls, reimbs, other                             1,000,760                         1,000,260                          1,000,260      currently not provided
   latest SF133 if more                                                                                                                                                                                                under the given time period
   recent figures are not                                                                                                                                                                                              of the CR as a negative on
   available. The period
                                    1740     2      BA: Disc: Spending auth:Antic colls, reimbs, other                               349,000                           348,000                            348,000      line 1134 (for special or
                                                                                                                                                                                                                       trust fund TAFS, you must
   covered by such                                                                                                                                                                                                     use line 1135). (See
   amounts should be                                                                                                                                                                                                   section 123.2 for
   indicated in a footnote                                                                                                                                                                                             guidance.)
   and the "Memo
   Obligations" column.
                                    1920            Total budgetary resources avail (disc. and mand.)                             52,039,084                        63,319,760                         63,319,760




                                    6001            1st quarter            Agency requested/OMB approved                         13,009,771                         22,320,447                         22,320,447
                                                                           reapportionment of the increased
                                                                           unobligated balances (+$9,310,676)
                                                                           in the first quarter.
                                    6002            2nd quarter                                                                  13,009,771                         13,009,771                         13,009,771
                                                                           If the request/approval was in the                                                                                                                The CR lump sum can be
                                                                           second quarter, increase would have                                                                                                               apportioned as either Cat A
                                    6003            3rd quarter            to show on line 6002 since OMB                        13,009,771                         13,009,771                         13,009,771
                                                                                                                                                                                                                             or Cat B depending on
                                                                           can never reapportion a past period.                                                                                                              agency need. Please see
                                                                                                                                                                                                                             section 123.4 for more
                                    6004            4th quarter                                                                  13,009,771                         13,009,771                         13,009,771            information.

                                    6011            Lump Sum                                                                                                         1,970,000                          1,970,000                            1,425,555


                                    6190            Total budgetary resources available                                           52,039,084 A1                     63,319,760                         63,319,760

                                 Footnote A1: In addition to the amounts apportioned above, this account also received funds pursuant to Public Law XXX-XXX as automatically apportioned via OMB Bulletin XX-XX.

                                 Exhibit Notes:
                                       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

                                       2) Generally, the OMB CR Bulletin will automatically apportion funds made available by a CR without requiring you to submit an account-specific apportionment request
                                          (see section 123.3, 120.59). However, you may submit, or OMB may require you to submit a request.

                                       3) You must submit a reapportionment request showing the final determination of unobligated balances to OMB as soon as it becomes known unless the amount is
                                          automatically apportioned by section 120.49. If you need to submit a reapportionment post October 1 and you do not reflect the amounts automatically apportioned by
                                          the OMB CR Bulletin, then you must footnote the apportionment accordingly (see section 123.18).




Page 38 of Section 120                                                                                                                                                           OMB Circular No. A–11 (2024)
          Case 1:25-cv-01111-EGS                                     Document 13-7                        Filed 04/22/25                                                Page 42 of 80
APPORTIONMENT PROCESS                                                                                                                                                                EXHIBIT 120G



                            Apportionment Following a Continuing Resolution (CR) (No-Year TAFS)

                                                                                                                                  Identify in the header the law(s) providing the budget
                                                                            FY 20xx Apportionment                                 authority. Note: you can choose to reference Public Law
                                                                    Funds provided by Public Law XXX-XXX                          number of the CR or both the CR and any appropriation
                                                                                                                                  laws.




                                                                                                                                                      Agency Footnote




                                                                                                                                                                                     OMB Footnote
                                                                                                                  Prev Footnote
           Line                                                                                      Previous                                                                                         Memo
Line No                                         Line Description                                                                  Agency Request                        OMB Action
           Split                                                                                     Approved                                                                                       Obligations




                   Agency: Department of Government                                NOTE:
                   Bureau: Office of the Secretary                                 This exhibit reflects the cumulative amounts from the initial
                   Account: R & D (XXX-XX-XXXX)                                    apportionment (budgetary resources not determined by the current
                   TAFS: 080-X-1200                                                action of the Congress, section 120.23) approved prior to October 1
                                                                                   and the automatic apportionments provided by the OMB CR
                                                                                   Bulletin and section 120.41.
IterNo  2 Last Approved Apportionment: 9/10/CY
RptCat NO Reporting Categories
AdjAut NO Adjustment Authority provided


 1000      DE Unob Bal: Brought forward, Oct 1                                                       60,000,000
           DA [line split = DE for estimates of discretionary balances]                                                               46,000,000                        46,000,000
              [line split = DA for actual discretionary balances]                                                                                                                              Requirement
                                                                                   In the
                                                                                                                                                                                               for line 1134
                                                                                   previous                                                                                                    (or line 1135
                                                                                   approved                                                                                                    for special or
 1100              BA: Disc: Appropriation                                         column, line      24,000,000                       25,000,000                        25,000,000
                                                                                                                                                                                               trust fund
                                                                                   1100 is equal                                                                                               TAFS)--see
                                                                                   to the rate for                                                                                             footnote
 1134              BA: Disc: Appropriations precluded from obligation              operations        -22,030,000 B1                               0                              0
                                                                                                                                                                                               language
                                                                                   from the                                                                                                    below.
                                                                                   short-term
 1700              BA: Disc: Spending auth: Collected                              CR, not the            1,500                              2,000                           2,000

 1740       1      BA: Disc: Spending auth:Antic colls, reimbs, other                                 1,000,260                         1,000,260                        1,000,260

 1740       2      BA: Disc: Spending auth:Antic colls, reimbs, other                                   348,000                           178,000                          178,000


 1920              Total budgetary resources avail (disc. and mand.)                                 63,319,760                       72,180,260                        72,180,260

                                  Scenario 1 (Category B lump-sum):
                                  If you choose to lump-sum Cat B amounts automatically
                                  apportioned pursuant to the OMB CR Bulletin and A -11
                                  section 120.41, it will all show on line 6011.

                                  Scenario 2 (Category A lump-sum):
 6001              1st quarter    If you choose to record amounts automatically apportioned          22,320,447                       22,320,447                        22,320,447
                                  pursuant to the OMB CR Bulletin as Cat A, you show the
                                  amounts from the Bulletin all in 1st quarter, line 6001.
 6002              2nd quarter                                                                       13,009,771                         6,009,771                        6,009,771
                                  Scenario 3
                                  If the short -term CR is extended, the lump-sum from the
 6003              3rd quarter    Bulletin will be shown as follows:                                 13,009,771                         6,009,771                        6,009,771
                                  Cat B: additive to line 6011
                                  Cat A: in the quarter current at the time of the enactment of
 6004              4th quarter    the CR extension(s) (e.g., if extended in the second quarter,      13,009,771                       13,009,771                        13,009,771
                                  automatically apportioned amounts are shown in the second
                                  quarter, line 6002). See section 120.55
 6011              Lump Sum                                                                           1,970,000                       24,830,500                        24,830,500
                                  Post short-term CR: adjust line 1134 in the previous approved
                                  column to reflect the automatically apportioned amounts from
                                  both the Bulletin and A-11 section 120.41 and reflect it in the
                                  manner described in scenario 3.


 6190              Total budgetary resources available                                               63,319,760                       72,180,260                        72,180,260

Footnote B1: Amount on line 1134 has been adjusted pursuant to OMB Bulletin XX-XX and A-11 section 120.41.

Exhibit Notes:
      1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
      2) Consult your RMO for B1 footnote language if you received an account-specific apportionment during the short-term CR.
      3) See section 120.60 for additional detail on what to show in the "Previous Approved" column post CR.




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          Case 1:25-cv-01111-EGS                                  Document 13-7                         Filed 04/22/25                                        Page 43 of 80
EXHIBIT 120H                                                                                                                                APPORTIONMENT PROCESS



                    Apportionment Following a Continuing Resolution (CR) (Annual TAFS, Category A)

                                                                                                                                 Identify in the header the law(s) providing the budget
                                                                          FY 20xx Apportionment                                  authority. Note: you can choose to reference Public Law
                                                                  Funds provided by Public Law XXX-XXX                           number of the CR or both the CR and any appropriation
                                                                                                                                 laws.




                                                                                                                                                     Agency Footnote




                                                                                                                                                                                    OMB Footnote
                                                                                                                 Prev Footnote
           Line                                                                                     Previous                                                                                          Memo
Line No                                       Line Description                                                                   Agency Request                        OMB Action
           Split                                                                                    Approved                                                                                        Obligations




                   Agency: Department of Government
                   Bureau: Office of the Secretary                               NOTE:
                                                                                 This exhibit reflects the automatic apportionments provided by the
                   Account: R & D (XXX-XX-XXXX)
                                                                                 OMB CR Bulletin and section 120.41.
                   TAFS: 080-2019-2019-1200
                                                                                 See note 4 below for special and/or trust fund TAFS.

IterNo  2 Last Approved Apportionment: 9/10/CY
RptCat NO Reporting Categories
AdjAut NO Adjustment Authority provided

                                                                          In the previous
                                                                          approved column,
                                                                          line 1100 is equal                                         In Agency Request/OMB Action
                                                                          to the rate for                                            columns line 1100 reflects the full-
                                                                          operations from                                            year enacted appropriation
                                                                          the short-term
                                                                          CR, not the
                                                                          enacted full-year
 1100              BA: Disc: Appropriation                                appropriation.            24,000,000                       25,000,000                        25,000,000

 1134              BA: Disc: Appropriations precluded from obligation                               -10,504,200 B1                   Requirement 0for                           0
                                                                                                                                     line 1134 (or line
                                                                                                                                     1135 for special or
                                                                                                                                     trust funds)--see
                                                                                                                                     footnote language
                                                                                                                                     below.




                                                                                                                                                                                                   Note: since
 1920              Total budgetary resources avail (disc. and mand.)                                13,495,800                       25,000,000                        25,000,000                  full-year
                                                                                                                                                                                                   appropriations
                                                                                                                                                                                                   were in the
                                 Scenario Category A lump-sum in 1st quarter:                                                                                                                      third quarter,
                                 If you choose to record amounts automatically apportioned                                                                                                         you must keep
                                 pursuant to the OMB CR Bulletin as Cat A, you show the                                                                                                            amounts
                                 amounts from the Bulletin all in 1st quarter, line 6001. Assume                                                                                                   apportioned in
                                 that the CR is through January 15th and that 29.32% of the rate                                                                                                   first and
                                 for operations is automatically apportioned.                                                                                                                      second quarters
 6001              1st quarter                                                                       7,036,800                         7,036,800                        7,036,800                  the same (see
                                 Scenario: CR is extended in the 2nd quarter                                                                                                                       section
                                 Assume the CR is extended on January 7th (2nd quarter) and                                                                                                        120.55).
 6002              2nd quarter   runs through March 23rd. An additional 18.35% of the rate for       4,404,000                         4,404,000                        4,404,000
                                 operations is automatically apportioned in the 2nd quarter as a
                                 lump-sum.
 6003              3rd quarter                                                                       2,055,000                         7,806,700                        7,806,700
                                 Scenario: full-year bill is enacted in the 3rd quarter,
 6004              4th quarter   application of A-11 section 120.41:                                                                   5,752,500                        5,752,500
                                 Post short-term CR: adjust line 1134 in the previous approved
                                 column to reflect the automatically apportioned amounts from
                                 both the OMB Bulletin and A-11 section 120.41 and reflect it in
                                 the manner described in scenario above. Assume the full-year
                                 bill is enacted on March 21st (third quarter) and put the amount
                                 apportioned from A-11 section 120.41 in the third quarter
                                 (lump-sum).


 6190              Total budgetary resources available                                              13,495,800                       25,000,000                        25,000,000

Footnote B1: Amount on line 1134 has been adjusted pursuant to OMB Bulletin XX-XX and A-11 section 120.41.

Exhibit Notes:
      1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
      2) Consult your RMO is you received an account-specific written apportionment during the short-term CR for B1 footnote language.
      3) See section 120.60 for additional detail on what to show in the "Previous Approved" column post CR.




Page 40 of Section 120                                                                                                                       OMB Circular No. A–11 (2024)
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APPORTIONMENT PROCESS                                                                                                                                                       EXHIBIT 120I



              Public Enterprise (Revolving) or Intragovernmental (Revolving) Fund - Reapportionment

                                                                          FY 20xx Apportionment
                                                                                                                               Identify in the header the law(s)
                                                              Funds provided by Public Law XXX-XXX                             providing the budget authority.




                                                                                                                                            Agency Footnote




                                                                                                                                                                            OMB Footnote
                                                                                                          Prev Footnote
                                                                                             Previous                                                                                        Memo
Line No    Line Split                             Line Description                                                        Agency Request                      OMB Action
                                                                                             Approved                                                                                      Obligations




                        Agency: Department of Government
                        Bureau: Office of the Secretary
                        Account: R & D (XXX-XX-XXXX)
                        TAFS: 080-X-4321


IterNo        2         Last Approved Apportionment: 9/10/CY
                                                                                                                                            Change the line split from DE to
RptCat       NO         Reporting Categories                                                                                                DA whenever you reapportion after
AdjAut       NO         Adjustment Authority provided                                                                                       the final determination of
                                                                                                                                            unobligated balance.


 1000        DE         Unob Bal: Brought forward, Oct 1                                     83,584,884
             DA         [line split = DE for estimate of discretionary balances]                                             83,583,738                        83,583,738
                        [line split = DA for actual discretionary balances]

 1023                   Unob Bal: Applied to repay debt                                     -20,756,800                     -20,756,800                       -20,756,800

 1100                   BA: Disc: Appropriation                                               4,100,000                       4,100,000                         4,100,000

 1700          1        BA: Disc: Spending auth: Collected                                                                    8,000,000                         8,000,000

 1700          2        BA: Disc: Spending auth: Collected                                                                    8,189,500                         8,189,500

 1740                   BA: Disc: Spending auth:Antic colls, reimbs, other                   69,806,300                      54,616,800                        54,616,800

 1920                   Total budgetary resources avail (disc. and mand.)                  136,734,384                     137,733,238                        137,733,238


                                                                      Note: For
                                                                      Cat A you
 6001                   1st quarter                                   fill in the              550,000                          550,000                           550,000                  1,965,425
                                                                      memo
                                                                      obligations
 6002                   2nd quarter                                   in the quarter           650,000                          650,000                           650,000
                                                                      in which the
                                                                      obligations
 6003                   3rd quarter                                   were                     625,000                          625,000                           625,000
                                                                      incurred

 6004                   4th quarter                                                            609,600                          609,600                           609,600

 6011                   Management services                                                  23,202,000                      23,202,000                        23,202,000                  6,190,625

 6012                   Sales program                                                        11,834,000                      11,834,000                        11,834,000                  2,012,790

 6013                   Power program                                                        20,980,600                      20,980,600                        20,980,600                  5,125,630

 6182                   Unapportioned balance of revolving fund                               78283184                       79,282,038 A1                     79,282,038 A1

 6190                   Total budgetary resources available                                136,734,384                     137,733,238                        137,733,238
                                                                                                                            Display the text of any footnotes
                                                                                                                            in a separate tab in your Excel
                                                                                                                            file.
Exhibit Notes:
     1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

      2) If you don't know the amount of the unobligated balance brought forward at the time you must submit an apportionment request for an account,
         show an estimated amount on line 1000, and submit a reapportionment form if adjustments are required, except as specified in section 120.49.


      3) For revolving funds with indefinite borrowing authority :
                     • Line 1023 includes estimates for the year of repayments of principal.
                     • Line 1740 includes any credits or payments anticipated to be received.

      4) Exhibit 130E illustrates the SF 133 for this account.


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EXHIBIT 120J                                                                                                                        APPORTIONMENT PROCESS



                                                               Trust Fund Limitation

                                                                        FY 20xx Apportionment
                                                                   Funds provided by Public Law N/A




                                                                                                                                               Agency Footnote




                                                                                                                                                                              OMB Footnote
                                                                                                                   Prev Footnote
           Line                                                                                       Previous                     Agency                                                      Memo
 Line No                                        Line Description                                                                                                 OMB Action
           Split                                                                                      Approved                     Request                                                   Obligations




                   Agency: Department of Government
                   Bureau: Office of the Secretary
                   Account: R & D (XXX-XX-XXXX)
                   TAFS: 080-20xx-20xx-8004


 IterNo     2 Last Approved Apportionment: 9/10/CY                                                                Include reference to law(s) that establish
                                                                                                                  the limitation authority in a footnote.
 RptCat    NO Reporting Categories                                                                                Display the text of any footnotes in a
 AdjAut    NO Adjustment Authority provided                                                                       separate tab in your Excel file.




  1201             BA: Mand: Appropriation (special or trust Fund)                                    9,000,000                    9,000,000 B1                   9,000,000 B1


  1920             Total budgetary resources avail (disc. and mand.)                                  9,000,000                    9,000,000                      9,000,000


  6011             Management services                                                                1,500,000                    1,500,000                      1,500,000                     500,000

  6012             Sales program                                                                      7,500,000                    7,500,000                      7,500,000                  2,003,456

  6190             Total budgetary resources available                                                9,000,000                    9,000,000                      9,000,000




Exhibit Notes:
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




Page 42 of Section 120                                                                                                               OMB Circular No. A–11 (2024)
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APPORTIONMENT PROCESS                                                                                                                                                                 EXHIBIT 120K



                                           Negative Amount Due to Reduced Unobligated Balance

                                                                            FY 20xx Apportionment
                                                                       Funds provided by Public Law N/A




                                                                                                                                        Agency Footnote




                                                                                                                                                                       OMB Footnote
                                                                                                             Prev Footnote
          Line                                                                                   Previous                    Agency
Line No                                        Line Description                                                                                           OMB Action                   Memo Obligations
          Split                                                                                  Approved                    Request




                  Agency: Department of Government
                  Bureau: Office of the Secretary
                  Account: R & D (XXX-XX-XXXX)
                  TAFS: 080-X-4321


IterNo  2 Last Approved Apportionment: 9/10/CY
RptCat NO Reporting Categories
AdjAut NO Adjustment Authority provided




 1000      DE Unob Bal: Brought forward, Oct 1                                                  1,180,000
           DA Unob Bal: Brought forward, Oct 1                                                                               410,000                       410,000
              [line split = DE for estimate of discretionary balances]
              [line split = DA for actual discretionary balances]

 1021             Unob Bal: Recov of prior year unpd obl                                          150,000                    150,000                       150,000

 1700             BA: Disc: Spending auth: Collected                                                                          86,000                        86,000

 1701             BA: Disc: Spending auth: Chng uncoll pymts Fed src                                                           9,000                          9,000

 1740             BA: Disc: Spending auth:Antic colls, reimbs, other                              400,000                    145,000    B1                 145,000 B1


 1920             Total budgetary resources avail (disc. and mand.)                              1,730,000                   800,000                        800,000

                                                 Assuming that 1st quarter
                                                 obligations were $250,000 in
 6001             1st quarter                    this example, then the 2nd                        432,500                   432,500                        432,500                              250,000
                                                 quarter apportioned amount
                                                 would be $150,000 (432,500
 6002             2nd quarter                    apportioned less 250,000                          432,500                    -32,500                       -32,500
                                                 obligated plus -32,500
                                                 apportioned).                                                                                                                When you need to
 6003             3rd quarter                                                                      432,500                   200,000                        200,000           reduce the
                                                                                                                                                                              cumulative amount
                                                                                                                                                                              apportioned through
 6004             4th quarter                                                                      432,500                   200,000                        200,000
                                                                                                                                                                              the current period,
                                                                                                                                                                              revise the amount
 6190             Total budgetary resources available                                            1,730,000                   800,000                        800,000           apportioned for the
                                                                                                                                                                              current period to a
                                                                                                                                                                              negative amount.


Exhibit Notes:
      1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
      2) Apportionments previously established are not subject to change after the close of the period for which the apportionment is made (section 120.54).




OMB Circular No. A–11 (2024)                                                                                                                                     Page 43 of Section 120
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EXHIBIT 120L                                                                                                                                                             APPORTIONMENT PROCESS



                               Apportionments in Future Fiscal Years for Multi-Year Accounts (Category C)
     Current year's Apportionment:
                                                                                 FY 20xx Apportionment
                                                                            Funds provided by Public Law N/A                              Identify in the header the law(s)
                                                                                                                                          providing the budget authority.




                                                                                                                                                       Agency Footnote




                                                                                                                                                                                      OMB Footnote
                                                                                                                          Prev Footnote
               Line                                                                                        Previous                       Agency
     Line No                                         Line Description                                                                                                    OMB Action                  Memo Obligations
               Split                                                                                       Approved                       Request




                       Agency: Department of Government
                       Bureau: Office of the Secretary
                       Account: R & D (XXX-XX-XXXX)
                       TAFS: 80-20xx-20xx+1-4321

     IterNo  1 Last Approved Apportionment: N/A, First Request of year
     RptCat NO Reporting Categories
     AdjAut NO Adjustment Authority provided

      1100             BA: Disc: Appropriation                                           Includes the full
                                                                                                                                          100,000                         100,000
                                                                                         amount appropriated
      1920             Total budgetary resources avail (disc. and mand.)                                              0                    100,000                         100,000

      6001             1st quarter                                                                                                          12,500                          12,500

      6002             2nd quarter                                                                                                          12,500                          12,500
                                                                                         The planned use of
      6003             3rd quarter                                                       appropriations in year 1.                          12,500                          12,500

      6004             4th quarter                                                      The planned use of
                                                                                                                                            12,500                          12,500
                                                                                        appropriations in year 2
      6170             FY 20xx+1                                                        assuming there's no                                 50,000                          50,000
                                                                                        programmatic need in
                                                                                        first year.
      6190             Total budgetary resources available                                                            0                    100,000                         100,000

     Next year's apportionment:

                                                                                FY 20xx+1 Apportionment
                                                                            Funds provided by Public Law N/A                                           Agency Footnote




                                                                                                                                                                                      OMB Footnote
                                                                                                                          Prev Footnote




               Line                                                                                        Previous                       Agency
     Line No                          Bureau/ Account Title / Cat B Stub / Line Split                                                                                    OMB Action                  Memo Obligations
               Split                                                                                       Approved                       Request




                       Agency: Department of Government
                       Bureau: Office of the Secretary
                       Account: R & D (XXX-XX-XXXX)
                       TAFS: 80-4321 20xx/20xx+1

     IterNo  1 Last Approved Apportionment: N/A, First Request of year
     RptCat NO Reporting Categories
     AdjAut NO Adjustment Authority provided
                                                                                    Includes the $50,000
      1000     DA Unob Bal: Brought forward, Oct 1                         planned to be obligated in                                      52,000                          52,000
                                                                           year 2 plus $2,000 not
                  [line split = DE for estimate of discretionary balances] obligated in year 1.
                  [line split = DA for actual discretionary balances]
      1061        Anticipated recoveries of prior year unpaid and paid obligations                                                           5,000                           5,000

      1920             Total budgetary resources avail (disc. and mand.)                                              0                     57,000                          57,000

      6001             1st quarter                                                                                                          13,000                          13,000

      6002             2nd quarter                                                                                                          13,000                          13,000
                                                                                        The planned use of
                                                                                        appropriations in year 2.
      6003             3rd quarter                                                                                                          13,000                          13,000

      6004             4th quarter                                                                                                          18,000                          18,000

      6190             Total budgetary resources available                                                            0                     57,000                          57,000



     Exhibit Notes:
           1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
           2) Apportionments previously established are not subject to change after the close of the period for which the apportionment is made (section 120.54).


Page 44 of Section 120                                                                                                                                                    OMB Circular No. A–11 (2024)
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APPORTIONMENT PROCESS                                                                                                                                                             EXHIBIT 120M



             Trust Fund with Contract Authority, Appropriation to Liquidate Contract Authority, and Obligation Limitation

                                                                                    FY 2011 Apportionment                                Identify in the header the law(s) providing
                                                                               Funds provided by Public Law N/A                          the budget authority.




                                                                                                                                                         Agency Footnote




                                                                                                                                                                                        OMB Footnote
                                                                                                                    Prev Footnote
                                                                                                   Previous                                                                                              Memo
Line No    Line Split                              Line Description                                                                 Agency Request                         OMB Action
                                                                                                   Approved                                                                                            Obligations




                        Agency: Department of Government
                        Bureau: Office of the Secretary
                        Account: R & D (XXX-XX-XXXX)
                        TAFS: 080-X-8004                                                                                                                     The appropriation to liquidate contract
                                                                                                                                                             authority is included on line 1100 and is
                                                                                                                                                             subtracted on line 1138 because it cannot
                                                                                                                                                             be used to make new obligations.
IterNo        2         Last Approved Apportionment: 9/10/CY
RptCat       NO         Reporting Categories
AdjAut       NO         Adjustment Authority provided




 1100                   BA: Disc: Appropriation                                                                                              90,000                            90,000

 1138                   BA: Disc: Approps applied to liq contract auth                                                                      -90,000                           -90,000

 1600                   BA: Mand: Contract authority                                                   100,000                              100,000                           100,000

 1622                   BA: Mand: Contract auth: Precluded from ob (lim)                                                                    -10,000                           -10,000



 1920                   Total budgetary resources avail (disc. and mand.)                              100,000                               90,000                            90,000




 6001                   1st quarter                                                                     25,000                               25,000                            25,000

 6002                   2nd quarter                                                                     25,000                               20,000                            20,000

 6003                   3rd quarter                                                                     25,000                               25,000                            25,000

 6004                   4th quarter                                                                     25,000                               20,000 A1                         20,000



 6190                   Total budgetary resources available                                            100,000                               90,000                            90,000

                                                                                                                                        Display the text of any
                                                                                                                                        footnotes in a separate tab
                                                                                                                                        in your Excel file.
Exhibit Notes:
     1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

      2) This example assumes that the authorizing legislation provides $100,000 in contract authority that was apportioned in the initial apportionment for the year. Subsequently,
         the appropriation act provided $90,000 in an appropriation to liquidate contract authority and limited obligations from the contract authority to $90,000.

      3) This example assumes that the contract authority that cannot be obligated is available to be obligated in the succeeding fiscal year. This is an obligation
         limitation.




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EXHIBIT 120N                                                                                                                               APPORTIONMENT PROCESS



                              Trust Fund (or Special Fund) with Collections Precluded from Obligation


                                                                             FY 20xx Apportionment
                                                                                                                                  Identify in the header the law(s)
                                                                        Funds provided by Public Law N/A                          providing the budget authority.




                                                                                                                                                    Agency Footnote




                                                                                                                                                                                    OMB Footnote
                                                                                                                 Prev Footnote
                                                                                                   Previous                                                                                          Memo
 Line No       Line Split                            Line Description                                                            Agency Request                       OMB Action
                                                                                                   Approved                                                                                        Obligations




                            Agency: Department of Government
                                                                                                   In this example, the amount on line 1201 equals one-
                            Bureau: Office of the Secretary                                        quarter of the estimated annual obligations. This amount
                            Account: R & D (XXX-XX-XXXX)                                           is derived from prior year collections and is used to fund
                            TAFS: 080-X-8004                                                       obligations and outlays until current year collections are
                                                                                                   received.

                                                                                                   The amount on line 1234 equals the excess of current
 IterNo           1         Last Approved Apportionment: N/A, First Request of year                year receipts over the anticipated obligations ($40
 RptCat          NO         Reporting Categories                                                   thousand) plus the amount on line 1201 ($30 thousand).
 AdjAut          NO         Adjustment Authority provided




   1201                     BA: Mand: Appropriation (special or trust fund)                                                              30,000                            30,000

   1234                     BA: Mand: Appropriations precluded from obligation                                                          -70,000                           -70,000

   1250                     BA: Mand: Anticipated appropriation                                                                         160,000                           160,000



   1920                     Total budgetary resources avail (disc. and mand.)                                                           120,000                           120,000


   6011                     Payment of Benefits                                                                                         120,000 A1                        120,000




   6190                     Total budgetary resources available                                                                         120,000                           120,000
                                                                                                                                    Display the text of any
                                                                                                                                    footnotes in a separate tab in
                                                                                                                                    your Excel file.
Exhibit Notes:
         1) This exhibit only reflects lines that contain values. For a full listing of all lines, please Appendix F1.

          2) This example assumes that the authorizing legislation makes all receipts available until expended. However, the same law permits obligations only for
             benefits. The estimate of benefits to be paid is less than the current receipts. In this case, include all estimated current receipts on line 1250 (include
             actual collections on line 1201). Include, as a negative, the amount not needed to cover current obligations on line 1234. Do not include prior year
             collections that are not needed to incur current obligations on the apportionment or the SF 133.



          3) See exhibit 130J for a display of the treatment of this account on the SF 133 during the year and on September 30.




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APPORTIONMENT PROCESS                                                                                                                                                                               EXHIBIT 120O


                                                    Allocation Transfer Apportionment Format, Apportioning Programs


                                                                                      FY 20xx Apportionment
                                                                                  Funds provided by Public Law N/A




                                                                                                                                                                    Agency Footnote




                                                                                                                                                                                                     OMB Footnote
                                                                                                                                  Prev Footnote
                                                                                                                       Previous                       Agency                                                         Memo
Line No Line Split                                          Line Description                                                                                                          OMB Action
                                                                                                                       Approved                       Request                                                       Obligations




                      Agency: Department of Government
                      Bureau: Office of the Secretary                                                                                             The Budgetary Resources section reflects the
                                                                                                                                                  accounting steps of both the parent an the
                      Account: R & D (XXX-XX-XXXX)                                                                                                children. The net effect is to show the
                      TAFS: 080-X-1309                                                                                                            resources available for obligation for the entire
                                                                                                                                                  TAFS.
                                                                                                                                                  Note: In order for the transfers to crosswalk
                                                                                                                                                  correctly in the SF 133 and President's Budget,
 IterNo        1      Last Approved Apportionment: N/A, First Request of year                                                                     please ensure that both the parent and child use
 RptCat       NO      Reporting Categories                                                                                                        the appropriate USSGL for allocation transfers
 AdjAut       NO      Adjustment Authority provided                                                                                               https://tfm.fiscal.treasury.gov/v1/supplements/u
                                                                                                                                                  ssgl.html.



  1100                BA: Disc: Appropriation                                                                                                        10,000,000                        10,000,000

  1151         C1     BA: Disc: Anticipated nonexpenditure transfers of Approps to 019-080X1309                                                      -1,000,000                        -1,000,000

  1151         C2     BA: Disc: Anticipated nonexpenditure transfers of Approps to 020-080X1309                                                      -2,000,000                        -2,000,000

  1151         C1     BA: Disc: Anticipated nonexpenditure transfers of Approps from 080X1309                                                         1,000,000                         1,000,000

  1151         C2     BA: Disc: Anticipated nonexpenditure transfers of Approps from0 80X1309                                                         2,000,000                         2,000,000




  1920                Total budgetary resources avail (disc. and mand.)                                                                              10,000,000                        10,000,000




  6011                Program A                                                                                                                       5,500,000                         5,500,000

  6012                Program B                                                                                                                       2,000,000                         2,000,000

  6013                Program C                                                                                                                       2,500,000                         2,500,000


  6190                Total budgetary resources available                                                                                            10,000,000                        10,000,000




Exhibit Notes:
        1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




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EXHIBIT 120P                                                                                                                                        APPORTIONMENT PROCESS



                              Allocation Transfer Apportionment Format, Apportioning Parent and Child


                                                                                FY 20xx Apportionment
                               Identify in the header the
                                                                           Funds provided by Public Law N/A
                               law(s) providing the
                               budget authority.




                                                                                                                                                             Agency Footnote




                                                                                                                                                                                             OMB Footnote
                                                                                                                            Prev Footnote
           Line                                                                                               Previous                                                                                        Memo
Line No                                               Line Description                                                                      Agency Request                     OMB Action
           Split                                                                                              Approved                                                                                      Obligations




                   Agency: Department of Government                                                                                               The Budgetary Resources section reflects the
                   Bureau: Office of the Secretary                                                                                                accounting steps of both the parent an the
                                                                                                                                                  children. The net effect is to show the resources
                   Account: R & D (XXX-XX-XXXX)                                                                                                   available for obligation for the
                   TAFS: 080-X-1309                                                                                                               entre TAFS.

                                                                                                                                                  Note: In order for the transfers to crosswalk
                                                                                                                                                  correctly in the SF 133 and President's Budget,
IterNo      1      Last Approved Apportionment: N/A, First Request of year                                                                        please ensure that both the parent and child use
RptCat     NO      Reporting Categories                                                                                                           the appropriate USSGL for allocation transfers
                                                                                                                                                  https://tfm.fiscal.treasury.gov/v1/supplements/uss
AdjAut     NO      Adjustment Authority provided                                                                                                  gl.html.

                                                                                         In the application of budgetary resources
                                                                                         section of the apportionment only Cat AB
                                                                                         is shown.
 1000       P      Unob Bal: Brought forward, Oct 1 (parent, 080X1309)                                                                            750,000                          750,000
                                                                                         Same concept applies to using separate
                                                                                         Cat B lines to reflect parent and child
 1000      C1      Unob Bal: Brought forward, Oct 1 (child, 019-080X1309)                apportioned amounts separately.                          500,000                          500,000

 1100              BA: Disc: Appropriation                                                                                                     10,000,000                       10,000,000

 1151      C1      BA: Disc: Anticipated nonexpenditure transfers of Approps to 019-080X1309                                                   -1,000,000                       -1,000,000

 1151      C2      BA: Disc: Anticipated nonexpenditure transfers of Approps to 012-080X1309                                                   -2,000,000                       -2,000,000

 1151       P      BA: Disc: Anticipated nonexpenditure transfers of Approps from 080X1309                                                      1,000,000                        1,000,000

 1151       P      BA: Disc: Anticipated nonexpenditure transfers of Approps from 080X1309                                                      2,000,000                        2,000,000

 1920              Total budgetary resources avail (disc. and mand.)                                                                           11,250,000                       11,250,000

 6111              Parent - 1st quarter                                                                                                         3,750,000                        3,750,000

 6112              State FA (019-080X1309) - 1st quarter           Please note that in this scenario the parent apportions both                 1,000,000                        1,000,000
                                                                   the parent and the children (019-080X1309, 012-
 6113              Agric. (012-080X1309) - 1st quarter             080X1309) and separately identifies the children in the                        500,000                          500,000
                                                                   application of budgetary resources section.

 6124              Parent - 2nd quarter                            An apportionment for a parent/child does NOT have to                         4,000,000                        4,000,000
                                                                   separately identify the children in the application of
                                                                   budgetary resources section of the apportionment (e.g.,
 6125              State FA (019-080X1309) - 2nd quarter           PPA could be apportioned as separate category B lines).
                                                                                                                                                  500,000                          500,000

 6126              Agric. (012-080X1309) - 2nd quarter                                                                                          1,500,000                        1,500,000


 6190              Total budgetary resources available                                                                                         11,250,000                       11,250,000




Exhibit Notes:
     1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




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APPORTIONMENT PROCESS                                                                                                                                                                         EXHIBIT 120Q


                                                            Allocation Transfer Apportionment Format, Child Only


                                                                                         FY 20xx Apportionment
                                     Identify in the header the
                                     law(s) providing the                           Funds provided by Public Law N/A
                                     budget authority.




                                                                                                                                                               Agency Footnote




                                                                                                                                                                                                  OMB Footnote
                                                                                                                            Prev Footnote
                                                                                                                 Previous                                                                                          Memo
 Line No    Line Split                                        Line Description                                                              Agency Request                       OMB Action
                                                                                                                 Approved                                                                                        Obligations




                         Agency: Department of State Affairs                                                                                      For a few allocation arrangements, the Parent has delegated the
                         Bureau: Office of the Comptroller                                                                                        apportionment responsibility to its children.
                                                                                                                                                  Note: In order for the transfers to crosswalk correctly in the SF
                         Account: R & D (XXX-XX-XXXX)
                                                                                                                                                  133 and President's Budget, please ensure that both the parent
                         TAFS: 019-080-1309 /X                                                                                                    and child use the appropriate USSGL for allocation transfers
                                                                                                                                                  https://tfm.fiscal.treasury.gov/v1/supplements/ussgl.html.


 IterNo        1         Last Approved Apportionment: N/A, First Request of year
 RptCat       NO         Reporting Categories
 AdjAut       NO         Adjustment Authority provided


  1000                   Unob Bal: Brought forward, Oct 1                                                                                         500,000                               500,000

  1151                   BA: Disc: Anticipated nonexpenditure transfers of Approps from 080X1309                                               12,000,000 B1                         12,000,000 B1


  1920                   Total budgetary resources avail (disc. and mand.)                                                                     12,500,000                            12,500,000




  6011                   Country A activities                                                                                                   3,000,000                             3,000,000

  6012                   Country B activities                                                                                                   1,500,000                             1,500,000

  6014                   Country C activities                                                                                                   3,500,000                             3,500,000

  6170                   Unallocated activities - available CY+1                                                                                4,500,000 A1                          4,500,000 A1


  6190                   Total budgetary resources available                                                                                   12,500,000                            12,500,000


B1 footnote: Allocation transfer from parent agency, Department of Government.

Exhibit Notes:
        1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




OMB Circular No. A–11 (2024)                                                                                                                                                        Page 49 of Section 120
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EXHIBIT 120R                                                                                                                                      APPORTIONMENT PROCESS



                                          Allocation Transfer Apportionment Format, Parent Only


                                                                               FY 20xx Apportionment
                               Identify in the header
                               the law(s) providing the                    Funds provided by Public Law N/A
                               budget authority.




                                                                                                                                                           Agency Footnote




                                                                                                                                                                                            OMB Footnote
                                                                                                                              Prev Footnote
                                                                                                                 Previous                     Agency                                                        Memo
Line No Line Split                                        Line Description                                                                                                   OMB Action
                                                                                                                 Approved                     Request                                                      Obligations




                                                                                                                     The Budgetary presentation reflects the accounting
                        Agency: Department of Government                                                             steps for the parent only so the net effect is to
                        Bureau: Office of the Secretary                                                              show the resources available for obligation for the
                        Account: R & D (XXX-XX-XXXX)                                                                 parent.

                        TAFS: 080-X-1309                                                                             Note: In order for the transfers to crosswalk
                                                                                                                     correctly in the SF 133 and President's Budget,
                                                                                                                     please ensure that both the parent and child use the
                                                                                                                     appropriate USSGL for allocation transfers
IterNo         1        Last Approved Apportionment: N/A, First Request of year                                      https://tfm.fiscal.treasury.gov/v1/supplements/ussg
RptCat        NO        Reporting Categories                                                                         l.html.
AdjAut        NO        Adjustment Authority provided




 1000                   Unob Bal: Brought forward, Oct 1                                                                                        750,000                          750,000

 1100                   BA: Disc: Appropriation                                                                                               10,000,000                       10,000,000

 1151                   BA: Disc: Anticipated nonexpenditure transfers of Approps to other accounts                                           -3,000,000                       -3,000,000


 1920                   Total budgetary resources avail (disc. and mand.)                                                                      7,750,000                        7,750,000




 6001                   1st quarter                                                                                                            3,750,000                        3,750,000

 6002                   2nd quarter                                                                                                            4,000,000                        4,000,000

 6190                   Total budgetary resources available                                                                                    7,750,000                        7,750,000




Exhibit Notes:
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




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APPORTIONMENT PROCESS                                                                                                                                                         EXHIBIT 120S




                                                                        Sequester Apportionment




                                                                                                                                                      Agency Footnote




                                                                                                                                                                                         OMB Footnote
                                                                                                                     Prev Footnote
                                                                                                        Previous                                                                                          Memo
 Line No   Line Split                                Line Description                                                                Agency Request                       OMB Action
                                                                                                        Approved                                                                                        Obligations




                        Agency: Department of Government
                        Bureau: Office of the Secretary
                        Account: Research and Development (XXX-XX-XXXX)
                        Treas Account: Research and Development
                        TAFS: 099-X-0001
                                                                                                                                                                               Amounts sequestered in
IterNo        2         Last Approved Apportionment: 20xx-09-10                                                                                                                the previous year that
RptCat       NO         Reporting Categories                                                                                                                                   have been determined to
                                                                                                                                                                               be available in the current
AdjAut       NO         Adjustment Authority provided
                                                                                                                                                                               year ("pop-up")

                        Budgetary resources
 1000        DE         Discretionary Estimated - Unob Bal: Brought forward, Oct 1                      3,000,000
 1000        DA         Discretionary Actual - Unob Bal: Brought forward, Oct 1                                                          3,100,000                          3,100,000
 1000        ME         Mandatory Estimated - Unob Bal: Brought forward, Oct 1                          2,400,000
 1000        MA         Mandatory Actual - Unob Bal: Brought forward, Oct 1                                                              2,500,000                          2,500,000
 1700                   BA: Disc: Spending auth: Collected                                                                                 700,000                            700,000
 1740                   BA: Disc: Spending auth:Antic colls, reimbs, other                              2,700,000                        2,000,000                          2,000,000
 1800                   BA: Mand: Spending auth: Collected                                                                                 500,000                            500,000
 1802        SEQ        BA: Mand: Spending auth: Previously unavailable                                   140,000 B1                       140,000 B1                         140,000 B1
 1823        SEQ        BA: Mand: Spending auth: New\Unob bal temp reduced                               -210,000                         -210,000                           -210,000
                                                                                                                                                                                         Amounts
 1840                   BA: Mand: Spending auth:Antic colls, reimbs, other                              3,000,000                        2,500,000                          2,500,000    sequestered
 1920                   Total budgetary resources avail (disc. and mand.)                              11,030,000                       11,230,000                         11,230,000    in the
                                                                                                                                                                                                        current year
                        Application of Budgetary Resources
 6011                   Development                                                                     6,066,500                        6,176,500                          6,176,500
 6011                   Research                                                                        4,963,500                        5,053,500                          5,053,500
 6190                   Total budgetary resources available                                            11,030,000                       11,230,000                         11,230,000




Exhibit Notes:
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.




OMB Circular No. A–11 (2024)                                                                                                                                            Page 51 of Section 120
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EXHIBIT 120T                                                                                                                                         APPORTIONMENT PROCESS



                   Appropriations with Different Periods of Availability Executed by Non-Expenditure Transfer
Initial Apportionment for Total Appropriation:
                                                                                   FY 20xx Apportionment
                                                                              Funds provided by Public Law N/A                           Identify in the header the law(s) providing the
                                                                                                                                         budget authority.




                                                                                                                                                         Agency Footnote
                    This scenario reflects how to apportion accounts where the appropriation is




                                                                                                                                                                                         OMB Footnote
                                                                                                                       Prev Footnote
                    available for one year (or for a fixed amount of time) and the law permits
          Line      "not to exceed", "up to", or "no more than" a specific amount to be available      Previous
Line No                             Bureau/ Account Title / Cat B Stub / Line Split                                                    Agency Request                      OMB Action                   Memo Obligations
          Split     for a longer period of time or until expended.                                     Approved

                    Example:
                    "For necessary expenses of XXX, $100 million, of which not to exceed $10
                    million may be available until expended for the acquisition of XXX...."

                  Agency: Department of Government
                  Bureau: Office of the Secretary
                  Account: R & D (XXX-XX-XXXX)
                                                                                                                                                                                               A non-expenditure
                  TAFS: 080-20xx-20xx-4321                                                                                                                                                     transfer document must
                                                                                              Line 1100 should match the                                                                       be processed to move
IterNo  1 Last Approved Apportionment: N/A, First Request of year                                                                                                                              funds to the different
                                                                                              total appropriation, including
                                                                                              the amount provided for the                                                                      TAFS specified in the
RptCat NO Reporting Categories                                                                                                                                                                 language.
                                                                                              different TAFS.
AdjAut NO Adjustment Authority provided

 1100             BA: Disc: Appropriation                                                                                               100,000,000                        100,000,000
 1151             BA: Disc: Anticipated non-expenditure transfers of appropriations                                                     -10,000,000                        -10,000,000

 1920             Total budgetary resources avail (disc. and mand.)                                                0                      90,000,000                        90,000,000

 6001             1st quarter                                                                                                             25,000,000                        25,000,000

 6002             2nd quarter                                                                                                             15,000,000                        15,000,000

 6003             3rd quarter                                                                                                             25,000,000                        25,000,000

 6004             4th quarter                                                                                                             25,000,000                        25,000,000

 6190             Total budgetary resources available                                                              0                      90,000,000                        90,000,000

Initial Apportionment for Different Period of Availability:

                                                                                   FY 20xx Apportionment
                                                                              Funds provided by Public Law N/A
                                                                                                                                                         Agency Footnote




                                                                                                                                                                                         OMB Footnote
                                                                                                                       Prev Footnote




          Line                                                                                         Previous
Line No                                           Line Description                                                                     Agency Request                      OMB Action                   Memo Obligations
          Split                                                                                        Approved




                  Agency: Department of Government
                  Bureau: Office of the Secretary
                                                                                                    If $10m is not needed in the
                  Account: R & D (XXX-XX-XXXX)
                                                                                                    extended/different TAFS,
                  TAFS: 080-X-4321                                                                  submit a reapportionment
                                                                                                    request to transfer the funds
                                                                                                    back to the original TAFS using
IterNo  1 Last Approved Apportionment: N/A, First Request of year                                   lines 1151/1120. A
RptCat NO Reporting Categories                                                                      reapportionment will also be
AdjAut NO Adjustment Authority provided                                                             needed for the original TAFS.


 1151             BA: Disc: Anticipated non-expenditure transfers of appropriations                                                       10,000,000                        10,000,000

 1920             Total budgetary resources avail (disc. and mand.)                                                0                      10,000,000                        10,000,000

 6002             2nd quarter                                                                                                              5,000,000                         5,000,000

 6003             3rd quarter                                                                                                              5,000,000                         5,000,000

 6190             Total budgetary resources available                                                              0                      10,000,000                        10,000,000



Exhibit Notes:
      1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
      2) See Section 3 of Appendix F for additional guidance.



Page 52 of Section 120                                                                                                                                 OMB Circular No. A–11 (2024)
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APPORTIONMENT PROCESS                                                                                                                                                                                        EXHIBIT 120U



                         Rescissions and Reappropriations of Unobligated Balances as of September 30th
 Apportionment of Rescinded Amounts as of September 30th
                                                                              FY 20xx Apportionment
                                                                         Funds provided by Public Law N/A                              Identify in the header the law(s)
                                                                                                                                       providing the budget authority.




                                                                                                                                                    Agency Footnote




                                                                                                                                                                                   OMB Footnote
                                                                                                                       Prev Footnote
           Line                                                                                         Previous                       Agency
 Line No                                         Line Description                                                                                                     OMB Action                   Memo Obligations
           Split                                                                                        Approved                       Request




                   Agency: Department of Government
                   Bureau: Office of the Secretary
                   Account: R & D (XXX-XX-XXXX)
                   TAFS: 080-20xx-20xx-4321

 IterNo  1 Last Approved Apportionment: N/A, First Request of year
 RptCat NO Reporting Categories
 AdjAut NO Adjustment Authority provided
                                                                                       Amount of
  1100             BA: Disc: Appropriation                                             unobligated                                      900,000                         900,000
                                                                                       balances as of
  1130             BA: Disc: Appropriations permanently reduced                        September 30th                                  -100,000                        -100,000

  1920             Total budgetary resources avail (disc. and mand.)                                               0                    800,000                         800,000

  6001             1st quarter         This scenario reflects how to apportion TAFS with language that rescinds                         225,000                         225,000
                                       unobligated balances as of September 30th and reappropriates them to be
                                       available for an additional fiscal year. This language may also have a
  6002             2nd quarter         provision that if enacted after September 30th the language shall apply as if it                 225,000                         225,000
                                       were in effect on September 30th.
  6003             3rd quarter                                                                                                          225,000                         225,000
                                       Example:
                                       "The remaining unobligated balances as of September 30 XXXX, from
  6004             4th quarter         amounts made available for the Office of the Secretary, R&D account, are                         125,000                         125,000
                                       hereby permanently rescinded and an amount of additional new budget
                                       authority equivalent to the amount rescinded is hereby appropriated on
                                       September 30 XXXX to remain available until September 30 XXXX+1,......"

  6190             Total budgetary resources available                                                             0                    800,000                         800,000

 Apportionment of the Rescinded Amount that is Reappropriated as of September 30th

                                                                             FY 20xx+1 Apportionment
                                                                         Funds provided by Public Law N/A
                                                                                                                                                    Agency Footnote




                                                                                                                                                                                   OMB Footnote
                                                                                                                       Prev Footnote




           Line                                                                                         Previous                       Agency
 Line No                                         Line Description                                                                                                     OMB Action                   Memo Obligations
           Split                                                                                        Approved                       Request




                   Agency: Department of Government
                   Bureau: Office of the Secretary
                   Account: R & D (XXX-XX-XXXX)
                   TAFS: 080-20xx-20xx-4321

 IterNo  1 Last Approved Apportionment: N/A, First Request of year
 RptCat NO Reporting Categories
 AdjAut NO Adjustment Authority provided
                                                                          Amount of the rescinded
  1100             BA: Disc: Appropriation                                unobligated balances that                                    100,000                         100,000
                                                                          is reappropriated




  1920             Total budgetary resources avail (disc. and mand.)                                               0                    100,000                         100,000

  6001             1st quarter                                                                                                          100,000                         100,000




  6190             Total budgetary resources available                                                             0                    100,000                         100,000



 Exhibit Notes:
       1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.

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EXHIBIT 120V                                                                                                                                                                            APPORTIONMENT PROCESS


                              Initial Apportionment of an Appropriation Reduced by Offsetting Collections and Receipts


                                                                                        FY 20xx Apportionment
                                       Identify in the header the
                                       law(s) providing the                        Funds provided by Public Law N/A
                                       budget authority.




                                                                                                                                                             Agency Footnote




                                                                                                                                                                                                OMB Footnote
                                                                                                                            Prev Footnote
                                                                                                            Previous                                                                                              Memo
 Line No    Line Split                                      Line Description                                                                Agency Request                     OMB Action
                                                                                                            Approved                                                                                            Obligations



                                                                                                                 Sample appropriations language:
                                                                                                                 For expenses necessary for the ... , $65,000,000, to remain available until
                         Agency: Department of State Affairs                                                     expended: Provided, That the sum herein appropriated from the general
                         Bureau: Office of the Comptroller                                                       fund shall be reduced as such offsetting collections are received during
                                                                                                                 fiscal year 20XX, so as to result in a final fiscal year 20XX appropriation
                         Account: R & D (XXX-XX-XXXX)
                                                                                                                 from the general fund estimated at $4,000,000.
                         TAFS: 019-080-X-1309


 IterNo        1         Last Approved Apportionment: N/A, First Request of year
 RptCat       NO         Reporting Categories
 AdjAut       NO         Adjustment Authority provided


  1100                   BA: Disc: Appropriation                                                             65,000,000                        65,000,000                          65,000,000
                                                                                                                                                                                            0
  1134                   BA: Disc: Appropriations precluded from obligation                                 -43,452,500                                                                     0
                                                                                                                                                                                            0
  1153                   BA: Disc: Antic redc to apprp by offst coll/recpt                                                                    -61,000,000                         -61,000,000
                                                                                                                                                                                            0
  1740                   BA: Disc: Spending auth: Antic colls, reimbs, other                                                                   61,000,000                          61,000,000
                                                                                                                                                                                            0
  1920                   Total budgetary resources avail (disc. and mand.)                                   21,547,500                        65,000,000                          65,000,000
                                            For the previously approved column, assume the account
  6001                   1st quarter                                                                         21,547,500                        21,547,500                          21,547,500      On the reapportionment after enactment of a full year appropriation,
                                            received an automatic apportionment during a CR that was in
                                            effect through December 30 and the account also received an                                                                                            the amount appropriated ($65m) is reduced on line 1153 by the
                                                                                                                                                                                                   amount of estimated offsetting collections on line 1740 so as to result
  6002                   2nd quarter        automatic 30-day apportionment pursuant to section 120.41 of                                       10,952,500                          10,952,500      in an estimated general fund appropriation of $4m.
                                            A-11 on December 30, and both current and prior year
                                            enacted language is the same. The pro-rata share of the up-
  6003                   3rd quarter                                                                                                           16,250,000                          16,250,000      Reapportionments should reflect amounts on lines 1100, 1137, 1153,
                                            front appropriation is $16,204,500 (91 days / 365 days =
                                                                                                                                                                                                   1700, and 1740 of the latest SF 133.
                                            24.93%, 24.93% of $65,000,000 = $16,204,500) and the
  6004                   4th quarter        automatic 30-day apportionment is $5,343,000 (30 days / 365                                        16,250,000                          16,250,000
                                            days = 8.22%, 8.22% of $65,000,000 = $5,343,000).
  6190                   Total budgetary resources available                                                 21,547,500                        65,000,000                          65,000,000




Exhibit Notes:
        1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
        2) For additional guidance on how to capture the latest budget execution data, see A-11 exhibit 130J.




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APPORTIONMENT PROCESS                                                                                                                                                                            EXHIBIT 120W




Apportionment of an Appropriation Reduced by Offsetting Collections and Receipts during CR period to invoke term and condition of the CR (section 123.10)


                                                                                               FY 20xx Apportionment
                                      Identify in the header the
                                      law(s) providing the                                Funds provided by Public Law N/A
                                      budget authority.




                                                                                                                                                                      Agency Footnote




                                                                                                                                                                                                           OMB Footnote
                                                                                                                                 Prev Footnote
 Line No   Line Split                                        Line Description                              Previous Approved                     Agency Request                           OMB Action                      Memo Obligations




                                                                                                                Sample appropriations language:
                                                                                                                For expenses necessary expenses to carry out..... , $8,000,000, to remain available until
                        Agency: Department of State Affairs                                                     expended: Provided, That the sum herein appropriated from the general fund shall be
                        Bureau: Office of the Comptroller                                                       reduced as such offsetting collections under such section XXX are received during fiscal
                        Account: R & D (XXX-XX-XXXX)                                                            year 20XX, ....so as to result in a final fiscal year 20XX appropriation from the general
                                                                                                                fund estimated at not more than $0: Provided further, That to the extent such offsetting
                        TAFS: 019-080-X-1309                                                                    collectionss received in fiscal year XXXX exceed $8,000,000, those execess amounts
                                                                                                                shall remain available until expended.....

 IterNo        1        Last Approved Apportionment: N/A, First Request of year
 RptCat       NO        Reporting Categories
 AdjAut       NO        Adjustment Authority provided


  1100                  BA: Disc: Appropriation                                                                     8,000,000                           8,000,000                              8,000,000

  1134                  BA: Disc: Appropriations precluded from obligation                                         -5,282,400                          -5,282,400                             -5,282,400

  1153                  BA: Disc: Antic redc to apprp by offst coll/recpt                                                                                         0                                    0

  1740                  BA: Disc: Spending auth: Antic colls, reimbs, other                                                                             1,000,000                              1,000,000

  1920                  Total budgetary resources avail (disc. and mand.)                                           2,717,600                           3,717,600                              3,717,600

  6001                  1st quarter        For the previously approved column, assume the account                   2,717,600                           2,717,600                              2,717,600
                                           received an automatic apportionment during a CR lasting
  6002                  2nd quarter        through February 1st (124 days / 365 days = 33.97%).                                                         1,000,000                              1,000,000
                                           Pursuant to the guidance in A-11 section 123.10, agency came
                                           in for an account-specific apportionment in January for an
  6003                  3rd quarter        expected $1 million to be collected above the $8 million in                                                                                                 0
                                           statutue.
  6004                  4th quarter                                                                                                                                                                    0

  6190                  Total budgetary resources available                                                         2,717,600                           3,717,600                              3,717,600




Exhibit Notes:
        1) This exhibit only reflects lines that contain values. For a full listing of all lines, please see Appendix F1.
        2) For additional guidance on how to capture the latest budget execution data, see A-11 exhibit 130J.
        3) The previous approved column reflects an automatic apportionment of 25% of the pro-rata share plus an estimated $2 million in excess fees collected during the CR period.
        4) The full-year bill was enacted after the first quarter and language did not change.




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SECTION 123—APPORTIONMENTS UNDER CONTINUING RESOLUTIONS


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                                         Summary of Changes

   Includes a timeline for collecting information from agencies on anomalies needed in short-term CRs
   (section 123.1).




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                                    Summary of Changes—Continued

   Updates the definition for "rate for operations" to further clarify the difference between the rate of
   operations and the pro-rata share that is automatically apportioned by a OMB CR Bulletin (section
   123.2).

   Allows agencies to reflect the pro-rata share of CR funds as either Category A or a single Category
   B without OMB concurrence (sections 123.4).

   Updates guidance on mandated transfer authority that factors into the rate for operations calculation
   (section 123.9).

   Updates guidance to add an example of a "floor" for permissive transfers (section 123.9).

   Provides a link to a section 120 exhibit of how to show an upfront general fund appropriation reduced
   by collections during a short-term CR on an account-specific apportionment when such
   apportionment is required to invoke a term and condition of the CR (section 123.10).

   Clarifies that the standard CR language regarding appropriated mandatory payment means that such
   programs can continue normal obligational activity during the 30-day extension period (section
   123.11).



123.1 What is a continuing resolution (CR) and how does OMB collect information on proposed
CR anomalies from agencies?

Continuing resolutions (CRs) are joint resolutions that provide continuing appropriations for part of a fiscal
year or a full fiscal year. A CR that covers only a part of a fiscal year is referred to as a "short-term" CR,
and a CR that covers a full fiscal year is referred to as a "full-year" CR. A CR is often enacted when the
Congress has not yet passed new appropriations bills by October 1 or when the President has vetoed
congressionally passed appropriations bills. Because of the nature of a short-term CR, each agency should
operate at a minimal level until after its regular fiscal year appropriations are enacted.

Short-term CRs sometimes include separate legislative provisions providing funding or authorities for a
specific TAFS or program (known as "anomalies"). OMB solicits information from agencies on anomalies
needed for potential short-term CRs under the following timeframes:

    •    No later than three months prior to the start of the upcoming fiscal year, OMB will issue a budget
         data request (BDR) for anomalies that would be necessary for a CR lasting through at least
         December 30. Your OMB representative will communicate a specific due date, which may be as
         early as one week after the BDR is released.

    •    For agencies that are operating under a short-term CR that expires on January 31 or earlier: no
         later than November 1 or one month prior to the expiration of the current CR, whichever is later,
         OMB will solicit information on anomalies that would be necessary during a short-term CR lasting
         through at least January 31 or one month after the expiration of the current CR, whichever is later.
         Your OMB representative will communicate a specific due date, which may be as early as 24 hours
         after the solicitation.




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    •    For agencies that are operating under a short-term CR that expires after January 31: OMB will
         determine on an ad hoc basis whether to solicit information on anomalies needed in further short-
         term CR extensions.

CRs provide funds for projects and activities. The phrase projects and activities may have two meanings:

    •    In section 101 of a CR, the phrase usually refers to the total appropriation for the account (i.e., the
         amount calculated by the formula) rather than to specific activities (when determining which
         Government programs are covered by the CR and the rate for operations limit).

    •    The phrase also refers to the specific activity (e.g., programs, projects, or activities) in order to
         determine whether the activity is a prohibited new start or not. In other words, a new start is not
         when an activity was authorized to be carried out but was not executed in the prior fiscal year.

Usually, CRs do not provide specific dollar amounts in the legislative language applicable to each Treasury
Appropriation Fund Symbol (TAFS). Rather, CRs provide formulas for calculating the amounts
appropriated for continuing projects and activities during the period of the CR. For more information on
calculating these amounts, see section 123.2.

For short-term CRs, an annual OMB CR Bulletin ("Bulletin") automatically apportions a pro-rata share of
funding available for most TAFSs. For more information on how the Bulletin apportions funding and how
much is apportioned, see sections 123.3 and 123.4. There are some instances where TAFSs will not receive
an automatic apportionment pursuant to the Bulletin and an account-specific apportionment is required
during the short-term CR. Some of those instances are mentioned throughout this section and will be
specifically addressed in the Bulletin.

The Bulletin is generally released after the enactment of an initial short-term CR and will contain any
specific information regarding the execution of that year's CR. This section of the Circular provides general
conceptual information on the apportionment and execution of short-term CRs. The Bulletin should be
regarded as the official apportionment of CR funds and will refer to this section and section 120 of this
Circular as necessary.

Amounts appropriated in a full-year CR are apportioned using the same processes that are used for full-
year appropriations Acts. OMB does not typically issue a Bulletin for full-year CRs. Occasionally, short-
term CRs will include provisions that provide a full-year appropriation for a specific TAFS. Such full-year
appropriations are not automatically apportioned by the Bulletin and are not subject to the calculations
discussed below.

123.2    How do I determine the rate for operations under a short-term CR?

Short-term CRs routinely provide a formula for determining the rate for operations either in section 101 or
in subsequent sections of the bill that may provide a particular rate for a program or account (anomaly).
For over a decade, section 101 of short-term CRs has provided the same process for calculating the rate for
operations formula and lists the previous fiscal year's appropriations Acts that are continued under the CR.
In addition, section 101 sometimes includes an across-the-board (ATB) increase or reduction to the rate for
operations. This section of the Circular provides guidance that assumes that future short-term CRs will
continue with this structure; however, the annual Bulletin will specify the official formula based on each
CR's legislative text.

"Rate for operations" is defined as the annualized level of resources provided by the appropriations Acts
referenced in section 101 of a short-term CR. It is often used interchangeably with "annualized level". For
consistency purposes, this section of the Circular uses "rate for operations." The rate for operations is only

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available for obligation during the period specified in a short-term CR. See section 123.3 to determine the
amount that is automatically apportioned during a short-term CR.

The rate for operations must be calculated at the TAFS level. The rate for operations is provided to the
TAFS with the period of availability in the appropriations Acts referenced in section 101, but updated to
start in the fiscal year for which the CR applies. For example, annual funds appropriated in the FY 2020
appropriations Act for TAFS 012-3456/2020 result in a rate for operations in an annual TAFS for FY 2021
in a FY 2021 CR (i.e., 012-3456/2021). Follow the steps below to calculate the rate for operations for each
applicable TAFS under section 101 of the CR:

    a) Take the full-year amount enacted in the appropriations Acts specified in section 101, including
       obligation limitations.

    b) Subtract any recurring account-specific rescissions, followed by agency-specific and then bill-wide
       reductions, if any, enacted in the appropriations Acts specified in section 101.

    c) Add or subtract non-expenditure transfers mandated by the appropriations Acts referenced in
       section 101. See section 123.9 for the definition of mandated transfers.

    d) Add or subtract any ATB increase or reduction specified in section 101 (if any).

For example, TAFS 012-3456/2020 was appropriated $100 million in the FY 2020 appropriations Act
referenced in section 101 of the 2021 CR. The appropriations Act referenced in section 101 also included
a recurring rescission of $50 million and directed that $30 million shall be transferred to TAFS 012-
1234/2020. Assuming section 101 does not include an ATB increase or reduction, here's how the 2021 CR
rate for operations for TAFS 012-3456/2021 would be calculated following the steps above.

    a) $100 million (FY 2020 amount provided in Act referenced in section 101 of the CR)

    b) Subtract $50 million (recurring rescission) = $50 million

    c) Subtract $30 million (mandated transfer to other TAFS) = $20 million

Using this example, the rate for operations would be $20 million, which would be reflected on line 1100 of
the apportionment and/or any Treasury reporting (SF 133, etc.) for TAFS 012-3456/2021. For Treasury
reporting and apportionment purposes, the rate for operations as provided by section 101 is reflected as a
single number on line 1100, and any rescissions, mandated transfers, or ATB increases or decreases that
are factored into the rate for operations as specified above are not identified on lines separate from 1100.

See section 123.5 for the rate for operations for enacted CR anomalies.

See section 123.7 for more information on recurring account-specific rescissions.

123.3 How do I determine the automatically apportioned amount during a short-term CR by the
Bulletin?

For a short-term CR, OMB usually issues a Bulletin to automatically apportion funds. This automatic
apportionment applies to most TAFSs, but not all. For particular TAFSs, OMB may require a separate
account-specific apportionment.

Note that an agency may not obligate funds under a short-term CR that would impinge on final funding
prerogatives of Congress. CRs usually include provisions directing agencies to execute programs using the

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most limited funding actions permitted in order to provide for continuing projects and activities. Agencies
are also directed by the CR to not execute programs that would otherwise have high initial rates of operation
or complete distribution of appropriations at the beginning of the year because of distribution of funds to
States, foreign countries, grantees, or others.

The last Bulletin that provided detailed guidance on how to execute the FY 2023 short-term CR can be
found here:

OMB Bulletin No. 23-02

Typically, the Bulletin will not automatically apportion the full rate for operations for a TAFS. For instance,
the Bulletin usually apportions the "pro-rata share" of the rate for operations through the period of the CR
or any extension thereof. The pro-rata share is usually calculated by multiplying the rate for operations by
the percentage of the year covered by the CR.

Using the example in section 123.2, the pro-rata share automatically apportioned to TAFS 012-3456/2021
for a CR ending December 15 would be calculated as follows:

$20 million (rate for operations) x 20.82 percent (76 days/365 days (use 366 for a leap year))
= $4.164 million

If a full-year appropriations Act (including a full-year CR) is enacted before the CR period is over (e.g.,
December 10), the amounts automatically apportioned by the Bulletin are unaffected (see section 120.41).

The pro-rata percentage used for the automatic apportionment is calculated and rounded to the hundredths
for each short-term CR extension when enacted. For instance, a CR is enacted from October 1st to
November 3rd (34/365=9.32%). The CR then gets extended until November 27th (24/365=6.58%). The CR
is then further extended until December 15th (18 days/365=4.93%). The total amount automatically
apportioned (even if, like stated above, the President enacts the full-year bill on December 10th)
cumulatively is 20.83% of the agency's rate for operations. This method results in a different percentage if
the agency tried to calculate from October 1st to December 15th (76/365=20.82%).

It may be determined that a TAFS should be apportioned less than the amount automatically apportioned
by the Bulletin to ensure that an agency does not impinge upon the final funding prerogatives of Congress.
In these cases, an account-specific apportionment (section 120.2) approved by OMB is required.

123.4 How does the Bulletin automatically apportion funding during a short-term CR?

The Bulletin automatically apportions the pro-rata share as a lump-sum amount using either Category A or
Category B – depending upon how the agency chooses to record the funding. In other words, if the funds
are Category A, the pro-rata share automatically apportioned is reflected in the quarter in which the CR is
enacted and/or extended and is not spread over quarters. Additionally, if the funds are Category B, the pro-
rata share is automatically apportioned as a single Category B line. If an agency would prefer to spread the
automatically apportioned amount among more than one Category B line, the agency must request an
account-specific apportionment from its OMB representative as soon as possible.

123.5 How can anomalies impact funding for a TAFS during a short-term CR?

Because a CR usually provides the funding levels and authorities enacted in the previous fiscal year, there
may be cases where a program requires additional funding or different authorities to maintain operations
during the CR. In these cases, a short-term CR may include a separate legislative provision (an "anomaly")
providing funding or authorities for a specific TAFS or program. CR anomalies can impact a program in a
number of different ways including, but not limited to, changing the rate for operations to provide additional
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funding, allowing more than the pro-rata share to be apportioned during the period of the CR ("spend-
faster" anomalies), adding an authority not carried forward in section 101 of the CR, or removing or
modifying an authority carried forward in section 101 of the CR. This section will focus on anomalies that
change the rate for operations and spend-faster anomalies.

a) Anomalies that change the rate for operations. This type of an anomaly may be required if the rate for
   operations provided by section 101 for a TAFS is not sustainable for the period of the CR. In order to
   increase the rate for operations of the TAFS above what is provided by section 101, additional authority
   is required. Using the example in section 123.2, an anomaly that would provide a higher than $20
   million rate for operations is below.

         Sec. XXX. Notwithstanding section 101, amounts are provided for "Account 1234" at a rate for
         operations of $150,000,000.

    The example language replaces the $100 million that is provided by section 101 of the CR with $150
    million. Based on the anomaly language, the new rate for operations would be calculated using the
    steps below. Note that all provisos and other authorities that applied to that funding under section 101,
    including recurring rescissions and transfers, continue to apply to the rate for operations provided by
    the anomaly unless specific legislative language is included in the anomaly to alter that authority.

         a) Take the full-year amount specified in the anomaly.

         b) Subtract any recurring account-specific rescissions followed by agency-specific rescission and
            then bill-wide reductions, if any, as included in appropriations Acts referenced in section 101.

         c) Add or subtract transfers mandated by the appropriations Acts referenced in section 101.

    As an example, here's how the rate for operations for TAFS 12-3456/XXXX with the enacted anomaly
    would be calculated following the steps above:

         a) $150 million (enacted amount in anomaly).

         b) Subtract $50 million (recurring rescission) = $100 million.

         c) Subtract $30 million (mandated transfer to other TAFS) = $70 million.

    The rate for operations would be $70 million under the CR, which would be reflected on line 1100 of
    the apportionment and/or any Treasury reporting (e.g., SF 133). The pro-rata share automatically
    apportioned by the Bulletin would be calculated using the $70 million.

b) Spend-faster anomalies. Sometimes it may not be necessary for a TAFS to receive a higher rate for
   operations, but the TAFS may need more funding apportioned than the pro-rata share automatically
   apportioned by the Bulletin. This could be for a number of reasons, including, but not limited to, higher
   obligations anticipated during the expected period of the CR. Below is example anomaly language that
   would allow TAFS 012-3456/XXXX to be apportioned more than the pro-rata share automatically
   apportioned.

         Sec. XXX. Amounts made available by section 101 for "Account 1234" may be apportioned up to
         the rate for operations necessary to maintain activities x, y, and z.

    With this language enacted, TAFS 012-3456/XXXX would still receive a rate for operations of $20
    million (see section 123.2), but the TAFS may receive an account-specific apportionment during the

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    period of the CR for an amount greater than the automatically apportioned amount ($4.164 million) as
    long as the rate for operations is not exceeded.

    For example, instead of basing the pro-rata share calculation on 76 days for a CR starting October 1
    and ending December 15, this type of anomaly could allow the TAFS to be apportioned a pro-rata share
    based on 90 days for a CR of the same duration. Accordingly, the amount apportioned for TAFS 012-
    3456/2021 pursuant to the spend-faster anomaly for a CR starting October 1 and ending December 15
    could be calculated as follows:

    $20 million (rate for operations) x 24.66 percent (90 days/365 days (use 366 for a leap year)) = $4.932
    million

    An account-specific apportionment must be approved by OMB before the agency may obligate at a rate
    higher than the pro-rata share automatically apportioned by the Bulletin pursuant to the authority
    provided by a spend-faster anomaly. Using the example above, the Bulletin would apportion TAFS
    12-3456/XXXX $4.164 million unless and until an account-specific apportionment is approved by
    OMB.

    Absent an enacted spend-faster anomaly, if a TAFS requires an amount that exceeds the amount
    automatically apportioned by the Bulletin, an exception apportionment must be requested by the agency
    and approved by OMB. For more information on exception apportionments, see section 123.16.

123.6 Am I required to submit an account-specific apportionment request while I am funded by a
short-term CR?

Generally, no. OMB will typically issue a Bulletin to automatically apportion amounts made available by
a CR and may provide additional guidance on the types of account-specific apportionments that may be
required and other specific CR execution issues.

123.7   How do recurring rescissions impact the rate for operations of a TAFS under a short-term
CR?

Rescissions or cancellations of discretionary prior-year balances that were included in the prior-year
appropriation Acts specified in section 101 of a short-term CR continue during the CR period and are
factored into the rate for operations calculation as shown in section 123.2. OMB typically includes an
attachment to the Bulletin that lists rescissions or cancellations enacted in the previous fiscal year that
impact the current CR. The attachment also usually includes the level at which such rescissions recur to
provide the amount to use when calculating the rate for operations. For example, Attachment B of the
OMB CR Bulletin lists rescissions by TAFS, categorizes each recurring rescission by how it should be
applied during the CR, and also indicates which rescissions do not recur and should not be factored into the
rate for operations.

As indicated in the Attachment B of the OMB CR Bulletin, some recurring rescissions will be applied to
new budget authority provided by section 101 of the CR based on the way the appropriations language
directing the rescission is written. If the rescission language is broad enough to be applied to the budget
authority provided by section 101 of the CR, it will be factored into the rate for operations. If the rescission
language is more restrictive and can only apply to prior-year discretionary balances in a TAFS that does
not receive a rate for operations under section 101 of the CR, an account-specific apportionment by OMB
is required to preclude these balances from obligation during the period of the CR.

The only exception to this account-specific apportionment rule for recurring rescissions of prior-year
balances is if language is enacted in the CR to allow Treasury Account Symbols (TASs) that have this type
of rescission to effectuate it as a reduction in the rate for operations of the current applicable TAFS.
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"Current applicable TAFS" refers to any of the TAFSs within a TAS for which a rate for operations is
provided by section 101 of the CR. This authority was provided in section 115 of the first CR. With this
authority, recurring rescissions of prior-year balances can be factored into the rate for operations calculation
of the current applicable TAFS and will be automatically apportioned by the Bulletin, unless otherwise
directed. Additional details and specific instructions on recurring rescissions will be included in the
Bulletin.

123.8 Do recurring changes in mandatory programs impact the rate for operations under a short-
term CR?

Changes in mandatory programs (CHIMPs) that continue as terms and conditions under section 101 of the
CR and result in the reduction of mandatory funding (rescissions/cancellations, mandated transfers to other
TAFSs, obligation delays, etc.) are not factored into the rate for operations. An account-specific
apportionment is required during the period of the CR to preclude applicable resources from obligation.
Reductions of this kind are typically included in an attachment to the Bulletin. For example, the reductions
were included in Attachment C of the OMB CR Bulletin.

CHIMPs that continue as terms and conditions under section 101 of the CR and do not result in a reduction
of mandatory funding (e.g., appropriations for or mandated transfers to mandatory programs) are factored
into the rate for operations calculation for those TAFS and are automatically apportioned by the Bulletin.

For more information on CHIMPs, see section 20.3.

123.9    How is transfer authority applied during a short-term CR?

Non-expenditure mandated transfers in the appropriations Acts referenced in section 101 are factored into
the rate for operations of both the giving and receiving TAFSs. Therefore, agencies do not have to execute
the non-expenditure transfer, report transfers in GTAS, or reflect these transfers separately in account-
specific apportionments, except as a preclusion for items discussed below.

For the purposes of calculating a rate for operations under a short-term CR, a mandated transfer is defined
as one in which the legislative transfer authority provided in the prior fiscal year appropriations Acts
referenced in section 101 provides a specific dollar amount to be transferred and does not provide any
flexibility for the agency to change that dollar amount or to choose the giving and receiving TAFSs involved
in the transfer. Only mandated transfers that were executed as non-expenditure transfers in the previous
fiscal year factor into the rate for operations calculation.

If the giving TAFS does not have a rate for operations under section 101, an account-specific apportionment
is required during the period of the CR to preclude the applicable resources from obligation. Section 123.8
discussed the account-specific apportionment required if the giving TAFS is mandatory. If the giving TAFS
is discretionary and does not have a rate for operations, a similar account-specific apportionment is required.

Not all mandated transfers in the previous fiscal year's appropriations Act use the language "shall transfer".
For instance, the appropriations language could instead call for funds to be derived from a specific source
other than the general fund of the Treasury. If such authority was executed as a non-expenditure transfer
the previous fiscal year, then it is considered a mandated transfer for purposes of calculating the rate for
operations. Two such examples are listed below:

         "For necessary expenses of the Inspector General in carrying out the provisions of the Inspector
         General Act of 1978, $250,000,000, to be derived by transfer from the Postal Service Fund and
         expended as authorized by section 603(b)(3) of the Postal Accountability and Enhancement Act
         (Public Law 109-535)."

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        "For necessary expenses of the Office of Inspector General in carrying out the provisions of the
        Inspector General Act of 1978, $42,982,000, to be derived from the Deposit Insurance Fund, or,
        only when appropriate, the FSLIC Resolution Fund."

If the mandated transfer is from an account that has either a zero balance or insufficient funds to cover the
mandated transfer amount during the CR period, then the amount derived by transfer for purposes of
calculating the rate for operations is zero or the lower amount, and the total rate for operations of the
receiving TAFS would be reduced accordingly. An example of this type of language is provided below:

        "For procurement, acquisition and construction of capital assets, including alteration and
        modification costs, of the National Oceanic and Atmospheric Administration, $1,719,866,000, to
        remain available until September 30, 2026: … Provided further, That in addition, $44,000,000 shall
        be derived by transfer for the purposes provided under this heading from the unobligated balances
        in the Fund established in section 111(a) of division B of Public Law 116–93."

In this example, if the unobligated balances of the Fund established in section 111(a) of division B of Public
Law 116-93 were only $1,000,000, then the rate for operations would be $1,720,866,000. If the unobligated
balances were zero, then the rate for operations would be $1,719,866,000.

Mandated transfers that were executed as expenditure transfers in the previous fiscal years are not used to
calculate the rate for operations of the giving and receiving TAFSs. Instead, the giving TAFS retains the
rate for operations and should execute the expenditure transfer from amounts apportioned to them during
the period of the CR.

Permissive transfer authority does not factor into a rate for operations. For purposes of calculating a rate
for operations under a short-term CR, permissive transfer authority is defined as legislative transfer
authority that provides flexibility in the amount transferred and/or the giving and receiving TAFS involved
in the transfer. Below are some examples of transfer authority that is considered permissive for purposes
of calculating the rate for operations:

        "of which not to exceed $9,000,000 may be transferred to the Working Capital Fund:"

        "up to 2 percent of funds made available for grant or reimbursement programs under such headings
        shall be transferred…"

        "Provided further, That any such amounts from the fund that the Attorney General determines are
        necessary to pay, first, for the costs of processing and tracking civil and criminal debt collection
        litigation activities, and thereafter for financial systems and for debt-collection-related personnel,
        administrative, and litigation expenses, in fiscal year 2020 and thereafter, shall be transferred to
        other appropriations accounts in the Department of Justice for paying the costs of such activities,
        and shall be in addition to any amounts otherwise made available for such purposes in those
        appropriations accounts:"

In contrast, if the previous fiscal year's appropriations Act contains language requiring that a minimum
amount be transferred to a separate TAFS (a.k.a. “floor”), then that minimum amount is considered the
appropriated amount for purposes of calculating the rate for operations. Amounts above the minimum
amount specified in law are considered permissive and would not factor into the rate for operations. An
account-specific apportionment would be required for both the giving and receiving TAFS to reflect the
transferred amount above the minimum. Below is an example of this kind of language:

        "of which not less than $6,000,000 shall remain available until expended for efforts to enforce laws
        against forced child labor; "
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In addition, any transfer authority provided in legislation outside of the appropriations Acts referenced in
section 101 (i.e., authorized transfer authority) does not factor into the rate for operations.

An agency may utilize permissive or authorized transfer authority from within the amounts apportioned to
it during the CR. The agency would need to request an account-specific apportionment for both the giving
and receiving TAFSs in order to obligate against the transferred resources.

If an agency is executing general transfer authority that has a percentage limit on the amount that can be
given or received (e.g., not more than five percent may be transferred or not more than ten percent may be
received), that percentage limitation is calculated against the rate for operations of the applicable TAFS.
However, as stated above, the actual amounts that may be transferred are limited to the amounts apportioned
to the giving TAFS.

In some cases, permissive transfer authority is provided to move funding between TAFSs within the same
TAS. For example, for a TAS that has a $10 million appropriation with a one-year period of availability
(POA) and a permissive carve-out ("up to," "not more than," or "not to exceed") of $2 million with a multi-
year POA, the rate for operations for the account would be $10 million in the one-year TAFS. The agency
would then have to execute a non-expenditure transfer to the multi-year POA to move amounts from within
the amounts apportioned in the one-year TAFS for the period of the CR. The agency may transfer up to
the $2 million statutory cap, as long as that amount is within the amounts apportioned. The agency would
need to request an account-specific apportionment for both the giving and receiving TAFSs in order to
obligate against the transferred resources. See section 120.41 for similar guidance for automatic
apportionment authority for the full-year enacted appropriation.

123.10 How is spending authority from offsetting collections or offsetting receipts that is provided in
annual appropriation Acts apportioned during a short-term CR?

In order to determine how apportionment of spending authority from offsetting collections or offsetting
receipts that is provided in annual appropriations Acts is effectuated under a CR, it is imperative to first
determine if the authority is under the rate for operations formula or is a term and condition of the CR and
therefore not funded within the rate for operations. In general, if the previous fiscal year's appropriations
Act appropriated a specific dollar amount to an account – all or some of which would be derived from
offsetting collections or offsetting receipts – then that dollar amount is a rate for operations. If the CR
provides additional authority to spend what is collected (i.e., not a specific dollar amount), then such
authority is a term and condition and not a rate for operation, so it requires a separate account-specific
apportionment. In some cases, an agency may have a blanket apportionment to cover all spending authority
provided as a term and condition of a short-term CR.

For example, in the following language below, the $8.0 million is the rate for operations and therefore is
pro-rated under the automatic apportionment provided by the Bulletin. However, the authority in the second
proviso to spend additional funds collected above $8.0 million is a term and condition. A separate account-
specific apportionment is required to obligate pursuant to the authority provided in the second proviso. For
a visual display of how this would look on an account-specific apportionment, please see the previously
approved column of Exhibit 120W.

         "For necessary expenses to carry out section 3024 of the Solid Waste Disposal Act (42 U.S.C.
         6939g), including the development, operation, maintenance, and upgrading of the hazardous waste
         electronic manifest system established by such section, $8,000,000, to remain available until
         expended: Provided, That the sum herein appropriated from the general fund shall be reduced as
         offsetting collections under such section 3024 are received during fiscal year 2019, which shall
         remain available until expended and be used for necessary expenses in this appropriation, so as to

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        result in a final fiscal year 2019 appropriation from the general fund estimated at not more than $0:
        Provided further, That to the extent such offsetting collections received in fiscal year 2019 exceed
        $8,000,000, those excess amounts shall remain available until expended and be used for necessary
        expenses in this appropriation."

In the second example below, the authority to collect and spend fees does not specify a dollar amount and
therefore not part of the rate for operations. This spending authority is not automatically apportioned by
the Bulletin and therefore requires a separate account-specific apportionment.

        "The Administrator of the Environmental Protection Agency is authorized to collect and obligate
        pesticide registration service fees in accordance with section 33 of the Federal Insecticide,
        Fungicide, and Rodenticide Act, as amended by Public Law 112-177, the Pesticide Registration
        Improvement Extension Act of 2012."

123.11 How are appropriated entitlement or other mandatory payments and activities under the
Food and Nutrition Act of 2008 apportioned during a short-term CR?

Typically, the short-term CR contains a provision that states that for appropriated entitlements and other
mandatory payments whose budget authority was provided in the previous fiscal year's appropriations Acts
referenced in section 101, and for mandatory payments and activities under the Food and Nutrition Act of
2008, activities shall continue at the rate necessary to maintain program levels under current law and under
the authority and conditions of the previous fiscal year's appropriations Act. In other words, these programs
operate as normal and are appropriated such sums as are necessary to do so.

Additionally, this provision of the CR typically provides that "obligations for mandatory payments" may
continue to be made for an additional 30 days beyond the end date of the short-term CR, including during
any government shutdowns. In other words, mandatory payment programs may make obligations they
would normally make during the additional 30 days of obligational authority and funding.

The Bulletin typically apportions such sums as are necessary to maintain program levels as specified above.
These programs are not limited to a pro-rata share or to a funding total provided in the previous fiscal year's
fiscal appropriations Acts referenced in section 101.

The programs provided this authority are within the accounts identified in the joint explanatory statement
of managers accompanying the conference report on the Balanced Budget Act of 1977 (House Report 105-
217, see page 1014), or accounts with legislatively enacted directed scoring making otherwise discretionary
appropriations mandatory.

123.12 Are earmarks or programs, projects, and activities (PPAs) in a TAFS apportioned on a pro-
rata basis by the Bulletin during a short-term CR?

No. The Bulletin automatically apportions the pro-rata share for each TAFS based on the rate for operations
for the entire TAFS without regard to any earmarks or PPAs within the TAFS, and without a requirement
that such earmarked amounts or PPAs also be pro-rated. Legislative earmark provisions continue as terms
and conditions of the CR, and as such, they continue to remain in effect during the period of the CR. As in
the case with other terms and conditions continuing in effect under a CR, agencies must comply with and
not breach earmark provisions over the course of the fiscal year, including during the period of a CR.

123.13 What is apportioned during a short-term CR to a TAFS that receives no funding in the House
or Senate bill?

If either the House or Senate has reported out of committee or passed an appropriations bill that provides
no funding for a whole TAFS (as opposed to merely providing no funding for a project, program or activity
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within a TAFS) at the time the CR is enacted, that TAFS is automatically apportioned zero, even if that
TAFS receives a rate for operations under section 101. An agency must submit an account-specific
apportionment request to OMB if the agency want funds apportioned for that TAFS during the period of
the CR, including any extensions of the CR. Agencies must also submit a written justification for any such
request. This restrictive funding action is to ensure that an agency does not impinge on final funding
prerogatives of the Congress.

However, if subsequently either the House or Senate does take action during the short-term CR to either
report out of committee or pass an appropriations bill that provides funding for a TAFS, then the TAFS
would be under the automatic apportionment as provided by the Bulletin.

123.14 Do the amounts provided as a rate for operations remain available after a short-term CR
expires?

It depends on the legislative action that follows the short-term CR or the absence of legislation that follows
the CR (e.g., a lapse in appropriations). Generally, CRs make amounts available for obligation only until
a time specified by the CR or until the enactment of regular fiscal year appropriations, whichever occurs
first. A CR normally provides temporary funding and may specify any period of time (e.g., one day, a few
days, a few weeks, or a month). It is generally understood that the normal appropriations process will
eventually produce appropriation Acts to replace or terminate the CR, and it is also generally assumed that
the full-year enacted level will be close to the level provided by the CR's rate for operations. An agency
must consult its RMO if its full-year enacted level is much lower than the amounts apportioned against the
CR's rate for operations. If a full-year CR follows a short-term CR, agencies must submit a reapportionment
request for the full-year appropriations (see section 123.20).

This rule does not apply to unobligated funds from a rate for operations provided by a short-term CR if that
CR is followed immediately by a lapse in appropriations (see sections 120.56, 123.23).

123.15 Do short-term CRs limit the purposes for which funds may be obligated?

Generally, yes. A CR makes amounts available subject to the same terms and conditions specified in the
enacted appropriations acts from the prior fiscal year unless otherwise stated in the statutory text. Normally,
an agency is not permitted to start new PPAs for which authority did not exist in the previous fiscal year.

123.16 When may I request that OMB issue an exception apportionment during a short-term CR?

If an agency seeks an amount for a TAFS that is more than the pro-rata share automatically apportioned by
the Bulletin, and the short-term CR does not provide a spend-faster anomaly that applies to that TAFS, then
the agency may request an exception apportionment from OMB. Each request for an exception
apportionment must be accompanied by a written justification that includes the legal basis for the request.
OMB grants exception apportionment requests only in extraordinary circumstances. This is different from
an account-specific apportionment for a spend-faster anomaly provided in the CR itself.

An exception apportionment may be requested on the following bases:

    •    Seasonality. This basis will be considered only if the program experiences regular and predictable
         changes in the rate of obligations throughout the year due to programmatic requirements, using
         historical data from SF 133s or OMB approved account-specific apportionments. For example, a
         history of apportionment shows that the Low-Income Home Energy Assistance Program has an
         established pattern of a higher rate of obligations in the first and second quarters of the fiscal year,
         when the temperatures are colder. Another example is funding for the protection of Presidential
         candidates and increased security at inaugurations every four years. Seasonality apportionment

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         requests will not be approved simply because an agency prefers to sign full-year contracts at the
         beginning of the fiscal year, or if doing so would be business as usual under a full-year enacted
         appropriation.

    •    Annualizing a new program. This basis involves situations where a new program began late in the
         previous fiscal year and the partial year funding level for the previous fiscal year would not be
         sufficient to fund a full year's rate for operations this year.

    •    Safety of human life or protection of Federal property. This basis involves situations where the
         obligations could legally be incurred under the Antideficiency Act during a Government-wide lapse
         of appropriations.

123.17 If I am funded by a short-term CR and have received an account-specific apportionment, will
I have to submit account-specific reapportionment requests for each extension of the CR?

No. In the case of TAFS that receive an account-specific apportionment at any time during a short-term
CR period (exclusions noted below), the automatic apportionment provided by the Bulletin will apply to
such TAFSs under any subsequent extensions of the CR, provided that the total amount apportioned during
the short-term CR period does not exceed the rate for operations provided by the CR. However, any
footnotes on the account-specific apportionment continue to apply to the TAFS when subsequently
operating under the automatic apportionment.

Agencies must, however, submit account-specific apportionments for each extension of the CR for TAFS
with zero-funding or utilizing a spend-faster anomaly. For TAFS with zero funding, account-specific
apportionments must be submitted for each CR extension—there is no automatic apportionment. If an
agency has already been apportioned a spend-faster anomaly or account-specific apportionment, then for
subsequent extensions of the CR an agency will be only automatically apportioned an additional pro-rata
share of the rate for operations. If an agency seeks to utilize the spend-faster CR anomaly for any CR
extension, the agency must once again submit an account-specific apportionment.

A full-year CR is not considered an extension of a short-term CR. The Bulletin typically does not apportion
additional funding for a full-year CR. If a full-year CR is enacted, an agency must request a reapportionment
within 10 calendar days of the enactment of the full-year CR (see section 123.20).

If an agency needs a reapportionment of carryover balances or any other budgetary resource not provided
by the CR, after the Bulletin is in effect, and the agency's RMO does not require the agency to show the CR
budgetary resources on the reapportionment, then the agency must footnote the reapportionment as follows
("A" footnote on line 6190 total budgetary resources):

         "In addition to the amounts apportioned above, this account is also receiving funds pursuant to
         Public Law XXX-XXX as automatically apportioned via OMB Bulletin XX-XX."

If the CR is extended (e.g., a subsequent law amends the CR to extend the date of its applicability), then
add "as amended" after "Public Law XXX-XXX" in the above footnote.

123.18 Are my credit programs funded under a short-term CR?

Yes. Appropriations for subsidy cost amounts associated with direct and guaranteed loan activities that
were conducted in the prior fiscal year are provided as a rate for operations in the same manner as other
appropriations. Normally, the CR allows agencies to make new direct loans and new commitments to
guarantee loans within the limitations on credit activity levels and subject to the terms and conditions
specified in the prior fiscal year appropriations Act(s). If there is an enacted credit limitation (i.e., a

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limitation on loan principal or commitment level) in the previous fiscal year, the automatic apportionment
is the pro-rata share of the credit limitation or rate for operations, whichever is more restrictive.

In the two examples below, the appropriations Act specified in section 101 appropriates $5 million for
subsidy costs and $200 million in loan limitation for direct loans. Assume the CR covers the first quarter
of the fiscal year (92 days), which results in a pro-rata share of roughly 25%, and that the prior fiscal year's
subsidy rate was 5.00%. The current subsidy rate differs in each example. The examples show that along
with other factors, the current subsidy rate impacts the amounts apportioned by the Bulletin for credit
programs.

To determine the amounts apportioned during a CR for Example 1, with a current subsidy rate of 8.00%:

    Step 1 – Calculate the pro-rata share of last year's enacted credit limitation: 25% x $200 million = $50
    million. The pro-rata share of the credit limitation would support a loan level of $50 million.

    Step 2 – Calculate the pro-rata share of the subsidy appropriation: 25% x $5 million = $1.25 million.

    Step 2A – Calculate the loan level that $1.25 million would support:

         •    To calculate the loan level, take budget authority and divide by the current subsidy rate (pro-
              rata share/subsidy rate = loan level).

         •    $1.25 million /.0800 = $15.625 million. The pro-rata share would support a loan level of
              $15.625 million.

    Step 3 – Determine the lesser of the pro-rata share of the credit limitation or the budget authority:

         •    Compare the results of steps 1 and 2A.

         •    Since the pro-rata share of the subsidy provides for a lower loan level ($15.625 million < $50
              million), the pro-rata share of the subsidy is the amount automatically apportioned by the
              Bulletin.

         •    Under the CR, this direct loan program may obligate up to $1.25 million for subsidy costs,
              which may support a loan level of $15.625 million.

 Example 1:       Current subsidy rate = 8.00%

                                           Pro-rata
                                                             Pro-rata           Amounts available under
                                           share
                                                             loan level         CR
                                           (25%)

                                                                                               1,250,000 in
                                                                                               subsidy to
 Credit
                  200,000,000              50,000,000        50,000,000                        support a loan
 limitation
                                                                                               level of
                                                                                               15,625,000
 BA               5,000,000                1,250,000         15,625,000




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 Example 2:      Current subsidy rate = 1.00%

                                           Pro-rata
                                                            Pro-rata            Amounts available under
                                           share
                                                            loan level          CR
                                           (25%)

                                                                                             loan level
 Credit
                 200,000,000               50,000,000       50,000,000          50,000,000   which
 limitation
                                                                                             requires
                                                                                500,000 in BA for subsidy
 BA              5,000,000                 1,250,000        125,000,000
                                                                                cost

See section 185.24 for further information regarding the subsidy rates to be used for loans or loan guarantees
at execution.

123.19 Do I have to request a warrant from Treasury for funds provided by a short-term CR?

Generally, no. Treasury will not issue a warrant under a short-term CR unless an agency explicitly requests
one (see Treasury Financial Manual I TFM2–2000, section 2025.30). Exceptions may be made on a case-
by-case basis if the short-term CR extends beyond the second quarter of the fiscal year. Further Fiscal
Service     Treasury       guidance       may      be      found     on      the     USSGL          website
(https://www.fiscal.treasury.gov/ussgl/resources-implementation.html#budgetary).

123.20 Do I need to request a reapportionment after my full-year appropriation is enacted?

Yes. Agencies must request a reapportionment within 10 calendar days of the enactment of an agency's
full-year appropriations Act (including a full-year CR), even if the period covered by the CR has not
expired. In the Previous Approved column, include the amounts apportioned under the short-term CR
(including automatic apportionment amounts as provided by the Bulletin and section 120.41. See exhibit
120H and section 120.61). The total amount subject to reapportionment will equal the total amount made
available for the fiscal year in the regular appropriation. See below for further information on the following:

    •    Instructions on the apportionment process/format (see section 120)

    •    Detailed instructions for each line on the apportionment (see Appendix F)

Until OMB approves an agency's first apportionment request for the fiscal year, and unless otherwise
determined by the agency's OMB representative, the agency will be under an automatic apportionment as
specified in section 120.41.

123.21 Will my full-year enacted appropriations cover obligations made during the CR?

Yes. Normally, an agency's full-year enacted appropriations will cover all obligations made during the CR.
However, there could be exceptions. See section 123.14 for an example of an exception.

Additionally, if the enacted full-year appropriations provides funds in a TAS that is a different period of
availability (i.e., a different TAFS) than was provided under the short-term CR, see section 120.63.




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SECTION 123—APPORTIONMENTS UNDER CONTINUING RESOLUTIONS


123.22 What if the full-year enacted appropriations subsequently provided less budget authority
than obligations incurred under the short-term CR?

Any agency must do everything possible to reduce the amount of its existing obligations so that the agency's
obligations do not exceed the amounts provided in the full-year enacted appropriations. The agency must
reduce obligations to the maximum extent possible—returning purchases received for a refund, canceling
purchases of goods and services ordered but not yet received, and canceling grants.

For example, consider the following situation:

    (1) There was no indication that the Congress would enact a regular annual appropriation less than the
    amount available under the CR;

    (2) The amount obligated was available under the CR;

    (3) The full-year enacted appropriation was subsequently less than the obligations incurred under the
    CR; and

    (4) The agency reduced obligations to the maximum extent possible (e.g., returned purchases received
    for a refund, cancelled purchases of goods and services ordered but not yet received, canceled grants,
    and transferred funds to the extent possible to cover obligations made during the period of the CR).

In this circumstance, it is expected that an agency will normally be able to reduce its CR-incurred
obligations by a sufficient amount so that the agency's obligations during that fiscal year will not exceed
the level of the full-year enacted appropriation (and, thus, all of these obligations will be charged to the
full-year enacted appropriation). However, in a case in which an agency is not able (after having de-
obligated funds to the maximum extent possible or used existing transfer authority to cover obligations
made during the period of the CR) to reduce its CR-period obligations to the level of the full-year enacted
appropriation, then the amount by which the full-year enacted appropriation has been exceeded will be
charged to the CR.

If an agency's full-year enacted appropriations provided less budget authority than the obligations the
agency incurred under the CR, the agency must contact its OMB examiner and request an apportionment
(if the agency is subject to apportionment) that specifically footnotes that all of the requirements of this
section have been met. For any supplemental warrant, the agency must also provide to its Treasury Bureau
of the Fiscal Service contact an OMB-approved apportionment stating that the conditions of this section
have been met.

123.23 What happens to my apportioned, unobligated short-term CR funding if the short-term CR
is followed by a lapse in appropriations?

During a lapse in appropriations, any unobligated funding from a rate for operations that was provided by
the CR and apportioned by OMB is not available for obligation. This includes unobligated funds from rate
for operations for multi-year and no-year TAFSs by the CR. This also includes any apportionments related
to the authority provided as term and condition of the CR to be able to retain and spend collections.

If the short-term CR includes a provision that provides a full-year appropriation to a specific TAFS,
amounts apportioned from that specific appropriation remain available during a lapse in appropriations.




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SECTION 124—AGENCY OPERATIONS IN THE ABSENCE OF APPROPRIATIONS


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   124.4       How may my agency receive lapse communications updates from OMB?
   124.5       Am I automatically apportioned obligational authority for agency operations that are
               authorized by law to continue in the absence of appropriations?

                                            Summary of Changes

  Clarifies and expands background information and policies (section 124.1).

  Reiterates what agencies should include in lapse plans, clarifies when and how agencies should
  submit changes, and asks agencies to use a specified landing page to link to the OMB website
  (section 124.2).



124.1   What types of actions may my agency conduct during a lapse in appropriations?

(a) Background.

The Antideficiency Act (ADA) prohibits agencies from incurring obligations in advance of, or in excess of,
an appropriation, except in certain limited circumstances. The Attorney General issued two opinions in the
early 1980s ("Applicability of the Antideficiency Act Upon a Lapse in an Agency's Appropriations" (1980)
and "Authority for the Continuance of Government Functions During a Temporary Lapse in Appropriations"
(1981)) finding that the language and legislative history of the ADA prohibits agency officials from incurring
obligations in the absence of appropriations. The Department of Justice's Office of Legal Counsel issued
another opinion in 1995 ("Government Operations in the Event of a Lapse in Appropriations" (1995))
reaffirming and updating its 1981 opinion.

An agency may still incur an obligation in the absence of an appropriation for certain "excepted" functions,
including when:

    •      A statute or court order expressly authorizes or requires an agency to obligate funds in advance of
           appropriations for the subject function;

    •      The lawful continuation of funded or unfunded functions necessarily implies that the subject
           function must also continue because suspension of that subject function would prevent or
           significantly damage the execution of the other lawfully continuing functions;

    •      The subject function addresses emergency circumstances such that the suspension of the function
           would imminently threaten the safety of human life or the protection of property; or

    •      The subject function is necessary to discharge the President's Constitutional duties and powers.


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 As discussed in section 124.2, an agency may retain employees who otherwise would be subject to furlough
 so that those employees may continue to perform "excepted" functions during a lapse in appropriations.

 Agency functions that are financed with appropriations that have not lapsed may continue and are "exempt"
 from any shutdown procedures, even while a lapse has occurred in other appropriations.

 (b) Policies.

 This section provides policy guidance and instructions for actions to be taken by Executive Branch agencies
 when the Congress fails to enact regular appropriations, a continuing resolution, or needed supplemental
 appropriations, resulting in a lapse of appropriations.

 This section does not apply to specific appropriations action by the Congress to deny program funding.

 When the Congress fails to act on program supplementals and the result is partial funding interruptions,
 special procedures beyond those outlined in this section may be warranted. In such cases, you should
 consult your OMB representative.

 Within the guidance established by the opinions issued by the Department of Justice and this Circular,
 agency heads, in consultation with their general counsels, must decide what agency activities are excepted
 or otherwise legally authorized to continue during a lapse in appropriations. Agencies should address
 questions to OMB, including questions about the interpretation of the Antideficiency Act. OMB will
 engage with the agency and the Department of Justice's Office of Legal Counsel, as necessary and
 appropriate.

 124.2    What plans should my agency make in anticipation of a lapse in appropriations?

 Agency heads, in consultation with their general counsels, must develop and maintain plans for an orderly
 shutdown in the event of a lapse in appropriations. Each agency must have an up-to-date lapse plan on file
 with OMB.

 Agencies must submit an updated lapse plan to OMB for review, at minimum, every two years, in the odd-
 numbered years, on August 1. Plans should be updated in 2025. Agencies must also submit an updated
 lapse plan to OMB for review whenever there is a change in the source of funding for an agency program
 or any significant modification, expansion, or reduction in agency program activities. Additional guidance
 on lapse plan submission and review for each potential lapse will be communicated with agencies, as
 needed.

 When submitting updated lapse plans for review, agencies must specifically identify any changes made
 based on the most recent lapse plan on file with OMB. A document containing tracked changes and/or
 annotated comments is required. Plans should be submitted to your OMB examiner and with a copy to the
 following email address: Section124Plans@omb.eop.gov. Agencies may also contact this email address
 with questions related to their lapse plans.

 Once the updated lapse plan is reviewed by OMB, the agency will publish the final lapse plan using a
 specified landing page on their agency website. This landing page will be linked to each respective agency
 on the OMB website's Agency Contingency Plans page.

 Below are the requirements for each lapse plan.

 Given that the duration of a lapse in appropriations is inherently uncertain, your plan should describe agency
 actions to be taken during a short-term lapse (1-5 days). It also should identify anticipated changes if the

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 lapse extends beyond that time period. Your plan should also designate personnel responsible for
 implementing and adjusting the plan to respond to the length of the lapse in appropriations and changes in
 external circumstances.

 You must include the following template at the beginning of your plan:

                                     Lapse Plan Summary Overview

  Estimated time (to nearest half day) required to complete shutdown activities:             # days

  Total number of agency employees expected to be on board before implementation
                                                                                           # employees
  of the plan:

  Total number of agency employees expected to be furloughed under the plan
                                                                                           # employees
  (unduplicated count):

  Total number of employees to be retained under the plan for each of the following categories
  (may include duplicated counts):

       Compensation is financed by a resource other than annual appropriations:            # employees

       Necessary to perform activities expressly authorized by law:                        # employees

       Necessary to perform activities necessarily implied by law:                         # employees

       Necessary to the discharge of the President's constitutional duties and powers:     # employees

       Necessary to protect life and property:                                             # employees



  Brief summary of significant agency activities that will continue during a lapse:




  Brief summary of significant agency activities that will cease during a lapse:



The plan should then proceed to describe in detail, for each component within your agency, the following:

        •   To the extent that specific shutdown activities will not be completed within one-half day, specify
            the nature of each such activity, together with the time and the number of employees necessary
            to complete the activity;

        •   The total number of employees in the component to be on-board before implementation of the
            plan;

        •   The total number of employees in the component expected to be furloughed under the plan;

        •   The total number of employees to be retained in the component under the plan for each of the
            categories listed in the table above (i.e., the employees' compensation is financed by carryover
            funds or an appropriation provided by permanent law, they are necessary to perform activities
            expressly authorized by law, they are necessary to perform activities necessarily implied by law,
            they are necessary to the discharge of the President's constitutional duties and powers, or they
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              are necessary to protect life and property). If an employee fits in more than one category, they
              may be reflected in the count for all applicable categories (i.e., count may be duplicated), in order
              to ensure the best estimate of the number of employees within each category; and

         •    The agency's legal basis for each of its determinations to retain categories of employees,
              including a description of the nature of the agency activities in which these employees will be
              engaged.

 To the extent that any of the information described above is expected to change should a lapse in
 appropriations extend for a prolonged period of time (i.e., longer than 5 days), the plan should explicitly
 describe these changes. In particular, the plan should indicate any points in time when the furlough status
 of employees may change, how many employees would be affected, and the legal basis for such changes.
 Agencies should consult with an OMB representative at such points in time during a lapse in appropriations
 to make OMB aware of any such changes. In addition, during a lapse in appropriations agencies should
 make an OMB representative aware of any instances where actions deviate from what is set forth in the
 plan.

 Agency plans should also describe the actions that will be necessary to resume orderly operations once
 appropriations are restored, including:

         •    Methods for notifying employees that the shutdown furlough has ended and that they are to
              return to work on a specified day (normally the employee's next scheduled workday after the
              furlough has ended);

         •    Flexibilities available to supervisors if employees have problems returning to work on the day
              specified by the agency, including the use of accrued annual leave, compensatory time off, or
              credit hours;

         •    Procedures for resuming program activities, including steps to ensure appropriate oversight and
              disbursement of funds.

 At the time employees are given furlough notices, agencies should provide them as much information as
 possible regarding how the agency will go about resuming operations after the furlough has ended.

 124.3    When should my agency's shutdown plans be implemented?

 OMB will monitor the status of congressional actions on appropriations bills and will notify agencies if
 shutdown plans are to be implemented. Whenever it appears that a lapse in appropriations might occur,
 you should review your shutdown plans, and, if revisions are required, promptly submit the revised plan to
 OMB and post the revised plan on your agency website. When agencies submit their plans to OMB, they
 should provide OMB with information on the agency personnel that would serve as a point of contact in
 the event of a lapse. While agencies are ultimately responsible for preparing and implementing orderly
 shutdown plans, all changes to the plans must be submitted to OMB for review in advance of implementing
 the plan. See section 124.2.

 One week prior to the expiration of appropriations bills, regardless of whether the enactment of
 appropriations appears imminent, OMB will communicate with agency senior officials to remind agencies
 of their responsibilities to review and update orderly shutdown plans, and will share a draft communication
 template to notify employees of the status of appropriations. OMB will hold follow-up communications
 on a periodic basis until such time as appropriations are enacted or a lapse in appropriations occurs.
 Approximately two business days before a potential lapse in appropriations, in coordination with OMB,
 agencies should notify employees of the status of funding using the OMB-provided employee notification.

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OMB will notify agencies when they should begin to inform employees of their individual status
(e.g., furloughed or not) under a lapse.

After OMB has communicated that a lapse in appropriations has occurred, OMB will provide guidance to
agencies directing the initiation of orderly shutdown activities. Each agency head must determine the specific
actions that will be taken; however, all actions must contribute to an orderly shutdown of the agency. All
individual employees should have been notified of their status under a lapse by this time. Agency heads
will notify OMB immediately once shutdown activities are initiated.

During a lapse in appropriations, agencies should only engage in activities consistent with their shutdown
plan.

Agencies must take necessary personnel actions to release employees in accordance with applicable law
and regulations of the Office of Personnel Management. You must prepare employee furlough notices and
process personnel and pay records in connection with shutdown furlough actions. You should plan for
these functions to be performed by employees who are retained for orderly termination of agency activities
as long as those employees are available. Agencies should also establish clear protocols for how employees
will be provided with furlough notices, contacted to be recalled to work following the end of the lapse in
appropriations or should their furlough status change in accordance with their agency's plan, and informed
of pertinent pay and leave information during the lapse. Where appropriate, agencies should seek to utilize
available technology to allow employees maximum flexibility in returning to work.

OMB will notify you once the lapse in appropriations has ended so that you can begin implementing your
plan to orderly resume agency activities.

124.4   How may my agency receive lapse communications updates from OMB?

Executive Branch agencies may receive updates on the status of appropriations at the OMB
Communications Regarding a Lapse in Appropriations page. Additional resources are provided on this page
and all agencies are encouraged to visit the page one week prior to the expiration of annual appropriations
Acts, regardless of whether the enactment of appropriations appears imminent.

To receive lapse updates via email, agency employees must join the group by following instructions on the
page. Receiving email updates is optional; all updates will be provided on the OMB Communications
Regarding a Lapse in Appropriations page.

124.5   Am I automatically apportioned obligational authority for agency operations that are
        authorized by law to continue in the absence of appropriations?

Yes. You are automatically apportioned the amounts necessary to carry out your agency's shutdown plan
as required by this section. This automatic apportionment provides authority to incur obligations, but does
not provide any authority to liquidate such obligations.

This automatic apportionment does not affect previously approved current-year apportionments for non-
continuing resolution (CR) funds, such as multi-year and permanent law appropriations. See sections
120.55 and 123.23 for what happens to apportioned CR funds if the lapse in appropriations follows a CR.




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